            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 1 of 75




                           UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

 SHANON EDMISTON, individually; and              §
 HELEN HOLMAN, as dependent                      §
 administrator of, and on behalf of, LISA        §
 WILLIAMS a/k/a LISA SCHUBERT, E.S.,             §
 J.S. #1, J.S. #2, SHANON EDMISTON, the          §
 ESTATE OF JOHN ROBERT SCHUBERT,                 §
 JR., and JOHN ROBERT SCHUBERT, JR.’S            §
 heirs-at-law,                                   §    CIVIL ACTION NO. 3:21-CV-132
                                                 §
          Plaintiffs,                            §    JURY DEMANDED
                                                 §
 v.                                              §
                                                 §
 CULBERSON COUNTY, TEXAS, OSCAR                  §
 BORREGO SR., OSCAR E. CARRILLO,                 §
 ERNESTO DIAZ, PETER E. MELENDEZ,                §
 and ADELAIDA ZAMBRA,                            §
                                                 §
          Defendants.                            §

                               PLAINTIFFS’ ORIGINAL COMPLAINT

          This is a case of a tragic inmate suicide resulting from violation of constitutional
  rights. Defendants’ deliberate indifference, objective unreasonableness, and/or policies,
  practices, and/or customs caused John Robert Schubert Jr.’s suffering and death.




Plaintiffs’ Original Complaint – Page 1 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 2 of 75




                                                        Table of Contents
I.      Introductory Allegations .............................................................................................. 4
        A.        Parties ............................................................................................................... 4
        B.        Jurisdiction and Venue ..................................................................................... 8
II.     Factual Allegations ...................................................................................................... 9
        A.        Introduction ...................................................................................................... 9
        B.        John Robert Schubert, Jr. ................................................................................. 9
        C.        John’s July 6, 2019 Arrest ............................................................................... 9
        D.        John’s Suicide in the Culberson County Jail ................................................... 10
        E.        Witnesses ......................................................................................................... 10
                  1.         Borrego, Sr., Oscar – Jailer .................................................................. 10
                  2.         Carrillo, Oscar E. – Sheriff .................................................................. 12
                  3.         Diaz, Ernesto – Deputy ........................................................................ 16
                  4.         Melendez, Peter E. – Deputy ............................................................... 17
                  5.         Zambra, Adelaida – Dispatcher/Jailer.................................................. 20
        F.        Investigations ................................................................................................... 23
                  1.         Medical Records and Death Reports.................................................... 23
                             a.          EMT Records ........................................................................... 23
                             b.          Autopsy Report ........................................................................ 23
                             c.          Custodial Death Report (Filed with Attorney General) ........... 23
                             d.          Inmate Death Report (Filed with Texas Commission on Jail
                                         Standards) ................................................................................ 23
                  2.         Texas Rangers ...................................................................................... 24
                  3.         Texas Commission on Jail Standards .................................................. 25
        G.        Defendants’ Knowledge and Education........................................................... 36
                  1.         Jail Suicides Are a Well-Known, Widespread Problem. ..................... 36
                  2.         Fifth Circuit’s Clearly-Established Law: Continuous Observation ..... 40
        H.        Monell Liability of Culberson County ............................................................. 41
                  1.         Introduction .......................................................................................... 41
                  2.         Culberson County Policies, Practices, and Customs ........................... 43




Plaintiffs’ Original Complaint – Page 2 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 3 of 75




                             a.         Policies, Practices, and/or Customs ......................................... 43
                             b.         Suicide of Melody Kopera in Culberson County Jail .............. 46
                             c.         TCJS Records Demonstrating Culberson County Practices
                                        and/or Customs ........................................................................ 59
III.    Causes of Action .......................................................................................................... 62
        A.        14th Amendment Due Process Claims Under 42 U.S.C. § 1983: Objective
                  Reasonableness Pursuant to Kingsley v. Hendrickson ..................................... 62
        B.        Remedies for Violation of Constitutional Rights............................................. 65
        C.        Cause of Action Against Individual Defendants Under 42 U.S.C. § 1983
                  for Violation of Constitutional Rights ............................................................. 66
        D.        Cause of Action Against Culberson County Under 42 U.S.C. § 1983 for
                  Violation of Constitutional Rights ................................................................... 70
IV.     Concluding Allegations and Prayer ............................................................................. 72
        A.        Conditions Precedent ....................................................................................... 72
        B.        Use of Documents at Trial or Pretrial Proceedings ......................................... 72
        C.        Jury Demand .................................................................................................... 73
        D.        Prayer ............................................................................................................... 73




Plaintiffs’ Original Complaint – Page 3 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 4 of 75




TO THE HONORABLE UNITED STATES DISTRICT COURT:
        Plaintiffs file this complaint and for cause of action will show the following.


I.      Introductory Allegations
        A.       Parties

        1.       Plaintiff Shanon Edmiston (“Ms. Edmiston”) is a natural person who resided in,

was domiciled in, and was a citizen of Texas at all relevant times. Ms. Edmiston sues in her

individual capacity, as the natural and legal mother of John Robert Schubert, Jr., and she seeks all

wrongful death and other damages available to her.

        2.       Plaintiff Helen Holman (“Ms. Holman”) is a natural person who resided in, was

domiciled in, and was a citizen of Texas at all relevant times. Ms. Holman sues in her capacity as

the Dependent Administrator of the Estate of John Robert Schubert, Jr., Deceased. John Robert

Schubert Jr. is referred to herein at times as “Mr. Schubert,” “John,” or the “Decedent.” Ms.

Holman, when asserting claims in this lawsuit as the dependent administrator, does so in that

capacity on behalf of all of John’s wrongful death beneficiaries (including Ms. Edmiston [John’s

mother], Lisa Williams a/k/a Lisa Schubert [John’s wife], E.S. [John’s minor daughter], J.S. #1

[John’s minor son], and J.S. #2 [John’s minor daughter]) and on behalf of John’s estate and all of

John’s heirs-at-law, including Lisa Williams a/k/a Lisa Schubert (John’s wife), E.S. (John’s minor

daughter), J.S. #1 (John’s minor son), and J.S. #2 (John’s minor daughter). All of the people listed

in the immediately preceding sentence, other than Ms. Edmiston and Ms. Holman, are collectively

referred to herein as the “Claimant Heirs.” Ms. Holman asserts claims on behalf of, and seeks all

survival damages and wrongful death damages available to, Ms. Edmiston and Claimant Heirs.

Letters of Dependent Administration were issued to Ms. Holman in year 2021, in Cause Number




Plaintiffs’ Original Complaint – Page 4 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 5 of 75




PR-3023, in the County Court of Winkler County, Texas, in a case styled Estate of John Robert

Schubert, Jr., Deceased.

        3.       Defendant Culberson County, Texas (“Culberson County” or the “County”) is a

Texas county. Culberson County may be served with process pursuant to Federal Rule of Civil

Procedure 4(j)(2) by serving its chief executive officer, Honorable County Judge Carlos G. Urias,

at Culberson County Courthouse, 300 La Caverna St., Van Horn, Texas 79855, or wherever

Honorable County Judge Carlos G. Urias may be found. Service on such person is also consistent

with the manner prescribed by Texas law for serving a summons or like process on a county as a

Defendant, as set forth in Texas Civil Practice and Remedies Code Section 17.024(a). Culberson

County acted or failed to act at all relevant times through its employees, agents, representatives,

jailers, and/or chief policymakers, all of whom acted under color of state law at all relevant times,

and is liable for such actions and/or failure to act to the extent allowed by law (including but not

necessarily limited to law applicable to claims pursuant to 42 U.S.C. § 1983 and the United States

Constitution). Culberson County’s policies, practices, and/or customs were moving forces behind

and caused, were proximate causes of, and were producing causes of constitutional violations and

resulting damages and death referenced in this pleading.

        4.       Defendant Oscar Borrego Sr. (sometimes referred to herein as “Mr. Borrego” or

“Jailer Borrego”) is a natural person who resides, is domiciled, and may be served with process at

305 Crockett Street, Van Horn, Texas 79855. Mr. Borrego’s listed address is P.O. Box 1411, Van

Horn, Texas 79855. Mr. Borrego may also be served with process wherever he may be found or,

pursuant to Federal Rule of Civil Procedure 4(e), by leaving a copy of this complaint and a

summons directed to Mr. Borrego at Mr. Borrego’s dwelling or usual place of abode with someone

of suitable age and discretion who resides there. Mr. Borrego is being sued in his individual




Plaintiffs’ Original Complaint – Page 5 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 6 of 75




capacity, and he acted at all relevant times under color of state law. His actions and inaction were

moving forces behind, caused, and proximately caused constitutional violations and resulting

damages and death referenced in this pleading. Mr. Borrego was employed by Culberson County

at all such times and acted or failed to act in the course and scope of his duties for Culberson

County.

        5.       Defendant Oscar E. Carrillo (sometimes referred to herein as “Mr. Carrillo” or

“Sheriff Carrillo”) is a natural person who resides, is domiciled, and may be served with process

at 1004 Crockett Street, Van Horn, Texas 79855. Mr. Carrillo’s listed address is P.O. Box 913,

Van Horn, Texas 79855. Mr. Carrillo may also be served with process at his place of employment,

Culberson County Sheriff’s Office, 300 La Caverna St., Van Horn, Texas 79855. Mr. Carrillo

may also be served with process wherever he may be found or, pursuant to Federal Rule of Civil

Procedure 4(e), by leaving a copy of this complaint and a summons directed to Mr. Carrillo at Mr.

Carrillo’s dwelling or usual place of abode with someone of suitable age and discretion who resides

there. Mr. Carrillo is being sued in his individual capacity, and he acted at all relevant times under

color of state law. His actions and inaction were moving forces behind, caused, and proximately

caused constitutional violations and resulting damages and death referenced in this pleading. Mr.

Carrillo was employed by Culberson County at all such times and acted or failed to act in the

course and scope of his duties for Culberson County.

        6.       Defendant Ernesto Diaz (sometimes referred to herein as “Mr. Diaz” or “Deputy

Diaz”) is a natural person who resides and is domiciled, upon information and belief, in El Paso,

Texas. Mr. Diaz may be served with process at his place of employment, Culberson County

Sheriff’s Office, 300 La Caverna St., Van Horn, Texas 79855. Mr. Diaz may also be served with

process wherever he may be found or, pursuant to Federal Rule of Civil Procedure 4(e), by leaving




Plaintiffs’ Original Complaint – Page 6 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 7 of 75




a copy of this complaint and a summons directed to Mr. Diaz at Mr. Diaz’s dwelling or usual place

of abode with someone of suitable age and discretion who resides there. Mr. Diaz is being sued

in his individual capacity, and he acted at all relevant times under color of state law. His actions

and inaction were moving forces behind, caused, and proximately caused constitutional violations

and resulting damages and death referenced in this pleading. Mr. Diaz was employed by Culberson

County at all such times and acted or failed to act in the course and scope of his duties for

Culberson County.

        7.       Defendant Peter E. Melendez (sometimes referred to herein as “Mr. Melendez” or

“Deputy Melendez”) is a natural person who resides, is domiciled, and may be served with process

at 3301 Kilkenny Rd., El Paso, Texas 79925. Mr. Melendez may also be served with process at

his place of employment, Culberson County Sheriff’s Office, 300 La Caverna St., Van Horn, Texas

79855. Mr. Melendez may also be served with process wherever he may be found or, pursuant to

Federal Rule of Civil Procedure 4(e), by leaving a copy of this complaint and a summons directed

to Mr. Melendez at Mr. Melendez’s dwelling or usual place of abode with someone of suitable age

and discretion who resides there. Mr. Melendez is being sued in his individual capacity, and he

acted at all relevant times under color of state law. His actions and inaction were moving forces

behind, caused, and proximately caused constitutional violations and resulting damages and death

referenced in this pleading. Mr. Melendez was employed by Culberson County at all such times

and acted or failed to act in the course and scope of his duties for Culberson County.

        8.       Defendant Adelaida Zambra (sometimes referred to herein as “Ms. Zambra,”

“Officer Zambra,” “Jailer Zambra,” “Dispatcher/Jailer Zambra,” or “Dispatcher Zambra”) is a

natural person who resides, is domiciled, and may be served with process at 408 Rivas Street, Van

Horn, Texas 79855. Ms. Zambra’s listed address is P.O. Box 811, Van Horn, Texas 79855. Ms.




Plaintiffs’ Original Complaint – Page 7 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 8 of 75




Zambra may also be served with process at her place of employment, Culberson County Sheriff’s

Office, 300 La Caverna St., Van Horn, Texas 79855. Ms. Zambra may also be served with process

wherever she may be found or, pursuant to Federal Rule of Civil Procedure 4(e), by leaving a copy

of this complaint and a summons directed to Ms. Zambra at Ms. Zambra’s dwelling or usual place

of abode with someone of suitable age and discretion who resides there. Ms. Zambra is being sued

in her individual capacity, and she acted at all relevant times under color of state law. Her actions

and inaction were moving forces behind, caused, and proximately caused constitutional violations

and resulting damages and death referenced in this pleading. Ms. Zambra was employed by

Culberson County at all such times and acted or failed to act in the course and scope of her duties

for Culberson County. All natural person Defendants (Oscar Borrego Sr., Oscar E. Carrillo,

Ernesto Diaz, Peter E. Melendez, and Adelaida Zambra) are collectively referred to in this

complaint as the “Individual Defendants.”


        B.       Jurisdiction and Venue

        9.       The court has original subject matter jurisdiction over this lawsuit according to 28

U.S.C. § 1331 and 1343(4), because this suit presents a federal question and seeks relief pursuant

to federal statute(s) providing for the protection of civil rights. This suit arises under the United

States Constitution and 42 U.S.C. § 1983. The court has personal jurisdiction over Culberson

County because it is a Texas county. The court has personal jurisdiction over the Individual

Defendants because they reside and are domiciled in, and are citizens of, Texas. Venue is proper

in the El Paso Division of the United States District Court for the Western District of Texas,

pursuant to 28 U.S.C. § 1391(b)(1). All Defendants are residents of Texas, and Mr. Melendez,

and likely Mr. Diaz, are residents of the Western District of Texas, El Paso Division, by being

residents of El Paso, Texas.



Plaintiffs’ Original Complaint – Page 8 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 9 of 75




II.     Factual Allegations

        A.       Introduction

        10.      Plaintiffs provide in factual allegations sections below the general substance of

certain factual allegations. Plaintiffs do not intend that those sections provide in detail, or

necessarily in chronological order, any or all allegations. Rather, Plaintiffs intend that those

sections provide Defendants sufficient fair notice of the general nature and substance of Plaintiffs’

allegations, and further demonstrate that Plaintiffs’ claim(s) have facial plausibility. Whenever

Plaintiffs plead factual allegations “upon information and belief,” Plaintiffs are pleading that the

specified factual contentions have evidentiary support or will likely have evidentiary support after

a reasonable opportunity for further investigation or discovery. Moreover, where Plaintiffs quote

a document, conversation, or recording verbatim, Plaintiffs have done Plaintiffs’ best to do so

accurately and without any typographical errors.

        B.       John Robert Schubert, Jr.

        11.      John was born in Monahans, Texas in 1984. He loved his children, and his favorite

pastime was going to their games. John enjoyed camping, fishing, barbequing, and virtually

anything outdoors. He also loved music and dancing. John died a completely unnecessary and

preventable death at the age of 35.


        C.       John’s July 6, 2019 Arrest

        12.      John was wandering about the town of Van Horn late on the evening of July 6,

2019. He knocked on at least one door and told the resident that someone was trying to kill him.

He also told at least one other person in the area that someone was trying to kill him. Upon

information and belief, this was false. Further, it was apparent to anyone interacting with John that



Plaintiffs’ Original Complaint – Page 9 of 75
              Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 10 of 75




he was not in his right mind and needed immediate mental health treatment to avoid injury to

himself or others. John’s subsequent arrest, and his preventable suicide in the Culberson County

jail, are described with more specificity below.


         D.       John’s Suicide in the Culberson County Jail

         13.      John suffered a tragic, completely preventable death as a result of his suicide

attempt in the Culberson County jail. Individual Defendants’ deliberate indifference and objective

unreasonableness in their actions and inaction, and Culberson County’s policies, practices, and/or

customs, caused, were proximate causes of, and were producing causes of John’s suffering and

death.


         E.       Witnesses

         14.      Plaintiffs provide in this section, as above, information at times obtained from

statements and/or reports drafted by certain people. Information obtained from these statements

and/or reports may be inconsistent at times, and conflict with information in statements and other

reports of persons referenced in this pleading. However, indulging all inferences in Plaintiffs’

favor, even when there are inconsistencies or differences, which Plaintiffs may note only at times.

Plaintiffs state plausible claims for deliberate indifference and/or objective unreasonableness of

Individual Defendants and for Monell claims against the County.


                  1.      Borrego, Sr., Oscar – Jailer

         15.      Jailer Borrego provided a statement to Texas Ranger Torrez. Ranger Torrez, as

described elsewhere in this pleading, investigated any alleged criminal conduct causing John’s

death. Jailer Borrego said that he received a “911” call at approximately 11:05 p.m. on July 6,

2019. He said the call was about someone asking for help. The male caller said that someone was



Plaintiffs’ Original Complaint – Page 10 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 11 of 75




trying to kill him. Jailer Borrego also said that he received another call from an off-duty trooper,

at approximately 11:09 p.m., saying that a man was at his door saying that someone was trying to

kill him. This man, and the male caller, were the same person - John. Upon information and belief,

Jailer Borrego formed the opinion, based upon that information as well as information he learned

later, that John was mentally ill and needed immediate mental health treatment. John did not need

to be jailed.

        16.      Jailer Borrego also said that, at approximately 11:12 p.m., he told Deputy Melendez

about the calls. Jailer Borrego said that he also received a call at approximately 11:12 p.m. from

the El Capitan Hotel in Van Horn saying that a man told the clerk that someone was trying to kill

him. Jailer Borrego said that he told Deputy Melendez, and that Deputy Melendez went to the

hotel and located John.

        17.      Jailer Borrego also said that, on July 7, 2019, at approximately 12:14 a.m., Deputy

Melendez brought John to the jail. Deputy Melendez put John into the booking area. Jailer

Borrego said that Jailer Borrego’s relief officer arrived at roughly the same time that Sheriff

Carrillo was calling the jail to check on John. Upon information and belief, the relief officer to

which Jailer Borrego referred was Dispatcher/Jailer Zambra.

        18.      Jailer Borrego changed John into jail clothing and put him into Cell Number 4. He

said that he did so because Ms. Zambra would be alone, and it would be easier for her to keep an

eye on John. When Jailer Borrego changed John into jail clothing, he, like all other Individual

Defendants, knew that suicidal inmates commonly use jail clothing to form ligatures to commit

suicide. Jailer Borrego, and all other Individual Defendants, likewise knew that a person on suicide

watch and/or at risk of self-harm should not be allowed to be in a cell with physical items with

which the person can form a ligature and commit suicide in the most common method.




Plaintiffs’ Original Complaint – Page 11 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 12 of 75




        19.      Jailer Borrego indicated that he changed John into jail clothing at approximately

1:35 a.m. and left the jail at approximately 1:48 a.m. Jailer Borrego said that when he left, Sheriff

Carrillo and Deputy Diaz also left. Upon information and belief, all three men knew, when they

left, that a jail intake of John had not been completed, including completion of the Texas

Commission on Jail Standards–required form regarding mental and/or medical issues described

below in this pleading. Likewise, upon information and belief, all three men knew the import of

failing to complete that form, including that John should have been immediately placed on

continuous suicide watch. Finally, upon information and belief, all three men knew that John had

been dressed-out into jail clothing with which he could form a ligature and commit suicide.

        20.      Jailer Borrego said that, at approximately 3:03 a.m., he received a phone call from

Dispatcher Zambra. She said to Jailer Borrego that John had hung himself in the jail. Jailer

Borrego then returned to the jail.


                 2.       Carrillo, Oscar E. – Sheriff

        21.       Sheriff Carrillo also provided a statement to Ranger Torrez. He said that, on July

6, 2019, he was monitoring his handheld radio and heard Culberson County Sheriff’s Office

dispatch send Deputy Melendez to the vicinity of Date Street regarding a male knocking on an off-

duty trooper’s residence door asking for help. He then heard dispatch tell Deputy Melendez that

the subject, who he later learned was John, was now at the lobby of the El Capitan Hotel. Upon

information and belief, the El Capitan Hotel was at the corner of Date Street and East Broadway

in Van Horn, Texas.

        22.      Sheriff Carrillo told Ranger Torrez that he checked on Deputy Melendez and was

told that Deputy Melendez had taken John to a Border Patrol station for identification. Sheriff

Carrillo said that, at approximately 12:59 a.m. on July 7, 2019, Sheriff Carrillo learned that John



Plaintiffs’ Original Complaint – Page 12 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 13 of 75




was in the booking room at the Culberson County jail. He said that he decided to go to the jail and

check on John and jail personnel.

        23.      Sheriff Carrillo said that once he arrived at the jail, he was told that John was in the

booking room and had a warrant for a parole violation. He said that he spoke with John and asked

what he was doing in Van Horn. He said that John told him that he had hitchhiked from El Paso

and was in a half-way house in Horizon, Texas. He said that he had left the Horizon facility

without permission and was not allowed to stay at the facility once he returned. John told Sheriff

Carrillo that they were mean to him at the facility, and that he had had enough.

        24.      Ranger Torrez wrote:

        Sheriff Carrillo stated Schubert appeared to be answering all of his questions.
        Sheriff Carrillo stated Mr. Borrego provided Schubert with dress out clothing and
        observed him put the jail-issued jail pants and shirt on. . . . Sheriff Carrillo stated
        [John] was escorted to a single jail cell and that Mr. Borrego was present during the
        interview [of John].

Sheriff Carrillo required Mr. Borrego to provide a mattress to John. When he did so, he was aware

that inmates will commonly use mattresses, by tearing them apart, to form ligatures to commit

suicide. Sheriff Carrillo said that he left the jail at approximately 1:48 a.m. Sheriff Carrillo

indicated that John appeared to Sheriff Carrillo to be cooperative and truthful in responses.

However, as indicated elsewhere in this pleading, Sheriff Carrillo did not require that any intake

occur, and he did not require that the legally-required Texas Commission on Jail Standards mental

health evaluation form be completed. Thus, independent from any other liability of Sheriff Carrillo

for damages and death referenced in this pleading, Sheriff Carrillo has supervisory liability.

        25.      Since the form had not been completed, as indicated elsewhere in this pleading,

Sheriff Carrillo had to operate on the belief that John was suicidal. Sheriff Carrillo was required

to put John on a suicide watch. Instead, he provided John with materials with which John could




Plaintiffs’ Original Complaint – Page 13 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 14 of 75




kill himself, incarcerated John in a cell alone, and left the jail. Upon information and belief, all

other Individual Defendants knew that John had to be treated as suicidal, should have been put on

a suicide watch, and was incarcerated in a cell alone, unobserved, with materials with which he

could kill himself.

        26.      Sheriff Carrillo further stated that, at approximately 2:47 a.m., he heard a radio call

asking for him to return to the jail. When he arrived, Dispatcher Zambra took him to Cell Number

4. He saw John in a kneeling position with a sheet tied to his neck and suspended from a shelf in

the cell. Sheriff Carrillo said that he lifted John and placed him on the bed, removing the sheet

from his neck. He heard a gasp for air, but John was unresponsive. Sheriff Carrillo said that he

began CPR, and that he asked Dispatcher Zambra to contact EMS. EMS medic Cody Davis arrived

and helped administer CPR.

        27.      Sheriff Carrillo said that John was very warm and limber. He said that John was

transported to the Culberson Hospital emergency room. He was later told that John did not survive.

Ranger Torrez said that Sheriff Carrillo provided to him all paperwork regarding John’s

incarceration.

        28.      Sheriff Carrillo also provided a typed statement, signed by him, and dated July 7,

2019. The statement had thirty-four numbered paragraphs. Upon information and belief, it may

not have been entirely accurate. Regardless, the following portions of that statement provide

additional information related to John’s death:

        •     Mr. Schubert appeared to be answering my questions and I asked him about his
              shirt because he was not wearing one and he said it was wet. Paragraph 14.

        •     I asked Mr. Borrego to provide him with dress out clothing and observed him
              put the jail issue jail pants and shirt on without incident. Paragraph 15.




Plaintiffs’ Original Complaint – Page 14 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 15 of 75




        •    Mr. Shubert asked now what? I asked him if he had a problem being detained
             with others and he said NO. Mr. Shubert was asked about drug use and
             responded that was why he was in rehab in El Paso. Paragraph 16.

        •    I informed Mr. Shubert I would follow up with the Parole Office in the morning
             but someone would be back to visit with him. Paragraph 17.

        •    Mr. Borrego advised the cell had no mattress and was then instructed to go into
             the tank and get an extra one. Paragraph 20.

        •    Mr. Borrego pulled a mattress from Tank B. Paragraph 21.

        •    After he was secured in the cell we returned to dispatch and observed Jailer
             Borrego clock off duty with the electronic time machine at 1:48a.m. Paragraph
             22.

        •    Mr. Borrego asked me for a ride home so we left and I dropped him off and
             patrolled the city for a couple of minuets. Paragraph 23.

        •    At approx. 02:47 am I heard a radio call out for 307 and 301 requesting us to
             the jail. Paragraph 24.

        •    Upon my arrival at I was escorted by Jailer Lila Zambra to jail cell 4 where I
             observed detainee in a kneeling position with an apparent sheet tied to his neck
             and suspended from a shelf in the cell. The detainee was lifted and placed on a
             table and the sheet was removed from his neck area by simply pulling it off.
             Paragraph 25.

        •    Detainee was placed on the bunk and I heard a gasp for air but was unresponsive
             to my verbal commands. I then began CPR and asked Lila to contact EMS.
             Paragraph 26.

        •    Deputy Sheriff Pete Melendez arrived and I instructed him to assist with
             compressions. I exited the cell to retrieve a defibulator and while returning to
             the cell Ms Zambra advised EMS was in route. Paragraph 27.

        •    I then switched positions with Pete and when EMS Cody Davis arrived.
             Paragraph 28.

        •    Detainee was very warm to the touch and limber as I recall from lifting him
             from the kneeling position onto the table then onto the bunk. Paragraph 29.

                                                  ***

        •    PA at the hospital advised me the patient did not survive possibly out of oxygen
             to long. Paragraph 31.


Plaintiffs’ Original Complaint – Page 15 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 16 of 75




        •     Justice of the Peace Betty Velez was summoned to hospital. Paragraph 32.

        •     The Texas Ranger Mata was notified with no success but Texas Ranger Torres
              advised he would respond to the jail. Paragraph 33.

        •     The cell was secured and the hospital ER personnel was advised to leave the
              body as is until the Texas Ranger Investigator would arrive. Paragraph 34.

(Grammar, spacing, and spelling errors in original).

        29.      Further, Sheriff Carrillo indicated his knowledge of what should have been done

with John. He said that his “concern with persons detained under these circumstances” was that

they needed to be assessed, and, if necessary, transferred to an El Paso hospital emergency room

for evaluation. He knew that such evaluation was required, as he indicated through use of the

phrase “emergency order,” by Chapter 573 of the Texas Health and Human Resources Code.

Upon information and belief, all Individual Defendants possess this knowledge and yet failed to

have John transferred to the nearest in-patient mental health facility in compliance with Texas law

and constitutional requirements.


                 3.       Diaz, Ernesto – Deputy

        30.      Deputy Diaz also provided a statement to Ranger Torrez. Deputy Diaz said that,

on July 7, 2019 at approximately 1:20 a.m., he arrived at the Culberson County jail. He saw Sheriff

Carrillo talking to John in the holding cell. Deputy Diaz said that this occurred at the time John

was being booked into the jail. However, contrary to Deputy Diaz’s statement, as shown elsewhere

in this pleading, John was never booked-in to the jail. He also said that Jailer Borrego was with

Sheriff Carrillo when Deputy Diaz noticed Deputy Melendez walk into the jail building.

        31.      Deputy Diaz said that he saw Sheriff Carrillo finish speaking to John and leave the

building. Deputy Diaz said that he also saw Jailer Borrego give John a yellow jail suit. Jailer




Plaintiffs’ Original Complaint – Page 16 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 17 of 75




Borrego then put John into Cell Number 4. After John was locked into the cell, Deputy Diaz and

Deputy Melendez left the building. Deputy Diaz indicated that this was at approximately 1:48

a.m.

        32.      As with other Individual Defendants, Deputy Diaz knew that John was provided

with property with which he could form a ligature and kill himself. Moreover, like all other

Individual Defendants, Deputy Diaz knew, upon information and belief, that the Texas

Commission on Jail Standards–required mental health form (described elsewhere in this pleading)

for John was not completed. He, like all other Individual Defendants, was familiar with the form

and knew what had to be done if the form was not completed. He knew that John had to be placed

on a suicide watch. He also knew that the only effective suicide watch would be continuous

monitoring.


                 4.       Melendez, Peter E. – Deputy

        33.       Deputy Melendez also provided a statement to Ranger Torrez. Deputy Melendez

said that, on July 6, 2019 at approximately 11:10 p.m., he was dispatched to a location in Van Horn

regarding John knocking on a resident’s door and saying that someone was trying to kill John.

Deputy Melendez said that John was not present when he arrived at the scene. Deputy Melendez

therefore attempted to find John.            Dispatch (Jailer Borrego) notified Deputy Melendez, at

approximately 11:13 p.m., that John was at the El Capitan Hotel. Deputy Melendez arrived at the

hotel at approximately 11:15 p.m. and talked to John. Deputy Melendez said that John appeared

nervous and said that people were trying to kill John. Upon information and belief, Deputy

Melendez knew that John had a significant mental illness such that he was a danger to himself or

others. Therefore, Deputy Melendez should have transported John to the nearest in-patient mental

health facility in compliance with law and, moreover constitutional rights.



Plaintiffs’ Original Complaint – Page 17 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 18 of 75




        34.       Deputy Melendez said that John was able to tell him the day of the week and the

approximate time, and that they were in Van Horn, Texas. John provided his correct name and a

date of birth which was correct other than alleged off by two years. Deputy Melendez was

ultimately able to locate John in a database after further investigation. Deputy Melendez learned

that John allegedly had an active warrant for an alleged parole violation.

        35.       Deputy Melendez ultimately transported John to the Culberson County jail after

arresting him. Deputy Melendez said that he arrived at approximately 12:14 a.m. on July 7, 2019.

He said that he took John to the jail’s holding cell, and Jailer Borrego took custody of John.

However, Jailer Borrego did not solely have custody of John. Instead, Culberson County had

custody of John. Thus, no Individual Defendant can use the excuse that another Individual

Defendant had custody of John. Each Individual Defendant owed his or her own constitutional

duties to John.

        36.       Deputy Melendez was then dispatched to another call. After that call, he returned

to the jail and helped Jailer Borrego lock John into another cell. Deputy Melendez said that this

occurred at approximately 1:42 a.m. Deputy Melendez then went back out on patrol. Deputy

Melendez said that John repeated that there was someone trying to kill him. However, John could

not give a name or description. Thus, Deputy Melendez was well aware that John was not in his

right mind. He knew that John was mentally ill. He likewise formed the belief that John was a

danger to himself and/or others. Therefore, he should have taken John to the nearest in-patient

mental health facility pursuant to Texas law and constitutional requirements.

        37.       Texas law was clear in requiring Deputy Melendez, and other Individual

Defendants who were peace officers, to take John to an appropriate mental health facility, rather

than transporting him to the County jail. The Texas Health and Safety Code, specifically Chapter




Plaintiffs’ Original Complaint – Page 18 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 19 of 75




573, entitled “Emergency Detention,” is unambiguous regarding duties of a peace officer who

comes in contact with a person with mental illness and who, as a result, is at a substantial risk of

harm unless the person is immediately restrained. Section 573.001 reads that a peace officer may

take a person into custody, without a warrant, if the peace officer has reason to believe and does

believe that (1) the person is a person with mental illness; and (2) because of the mental illness

there is substantial risk of serious harm to the person or to others unless the person is immediately

restrained, and there is insufficient time to obtain a warrant before taking the person into custody.

The section indicates that a substantial risk of serious harm to such a person may be demonstrated

either by the person’s behavior, or by evidence of severe emotional distress and deterioration in

the person’s mental condition to the extent that the person cannot remain at liberty. The section

also indicates that a peace officer may form the belief that the person meets the criteria for

apprehension on the basis of the apprehended person’s conduct, or the circumstances under which

the apprehended person is found.

        38.      Chapter 573 also reads, explicitly, that a peace office who takes such a person into

custody “shall immediately:”

        Transport the apprehended person to:

                 •    The nearest appropriate inpatient mental health facility; or

                 •    A mental health facility deemed suitable by the local mental health authority, if
                      an appropriate inpatient mental health facility is not available.

Further: “A jail or similar detention facility may not be deemed suitable except in an extreme

emergency.” (Emphasis added). Such an emergency did not exist with regard to John. The plain

language of the statute contemplates a natural disaster or some similar catastrophic event.

        39.      Upon information and belief, Deputy Melendez was fully aware of Chapter 573 and

his obligation to transport John to an appropriate mental health facility. Moreover, information and



Plaintiffs’ Original Complaint – Page 19 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 20 of 75




belief, considering other facts in this pleading, Deputy Melendez was deliberately indifferent to,

and acted in an objectively unreasonable manner regarding, John’s serious mental health needs.

Instead of complying with the law, and providing constitutional protection to John, Deputy

Melendez took John to the one location to which he should not have taken him – the County jail.

        40.      In the alternative, to the extent evidence indicates other than what Plaintiff expects

the evidence will indicate after further discovery, if Deputy Melendez and/or other Individual

Defendant peace officers were unaware of Chapter 573 or had not been trained about Chapter 573

nor how to handle mentally ill people such as John, this would be an independent basis for a Monell

claim against the County. In such a case, the County would not have appropriately supervised

Deputy Melendez, allowing him to act on his own regard in John and people in his situation, and

likewise would not have trained him for one of the most basic scenarios which he would face in

the field. Nevertheless, even if Deputy Melendez had not been trained about Chapter 573 or

sufficiently supervised, based upon his interaction with John, it was clear that he did not need to

be taken to a jail, but instead to an appropriate mental health facility. Deputy Melendez’s failure

to do so was objectively unreasonable and deliberately indifferent to John’s constitutional rights.

        41.      Plaintiffs do not allege that violation of Chapter 573 is a per se violation of

constitutional rights. Instead, Plaintiffs acknowledge and allege case law indicating that violation

of departmental policy can be some evidence that a constitutional violation occurred. Likewise,

violation of a rule, statute, or standard can be some evidence that a constitutional violation

occurred.


        5.       Zambra, Adelaida – Dispatcher/Jailer

        42.       Dispatcher Zambra also gave a statement to Ranger Torrez. Dispatcher Zambra

said that she began her shift on July 7, 2019 at approximately 12:14 a.m. She said that Jailer



Plaintiffs’ Original Complaint – Page 20 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 21 of 75




Borrego told her about John, and that he would book John into the jail so that Dispatcher Zambra

could deal with dispatch. Dispatcher Zambra also said that Sheriff Carrillo arrived at the jail and

spoke to John.

        43.      Dispatcher Zambra also said that, at approximately 1:48 a.m., Jailer Borrego came

into dispatch to clock out. He told Dispatcher Zambra that he put John into a single cell and

requested a driver’s license and criminal history check on John. Upon information and belief,

Dispatcher Zambra, as well as all Individual Defendants, knew that no one had completed the

Texas Commission on Jail Standards–required form regarding mental health and certain physical

issues described in this pleading below.

        44.      Dispatcher Zambra said that she printed a copy of the driver’s license and criminal

history for John at approximately 2:17 a.m. and was dealing with radio traffic as well. Dispatcher

Zambra was communicating to the Texas Ranger the difficulty which County employees had

working at the jail. The jail was understaffed.

        45.      Dispatcher Zambra said that, at approximately 2:28 a.m., she requested a medical

history report on John. Upon information and belief, this was a Continuity of Care Query

(“CCQ”). She also said that, at approximately 2:36 a.m., detainee Ortega called her on the

intercom and told her that Mr. Borrego had taken detainee Ortega’s extra mattress for, upon

information and belief, John. Detainee Ortega wanted it back. Dispatcher Zambra said that she

told him that she was sorry. Thus, Dispatcher Zambra was aware that John had more than one

item in his cell with which he could form a ligature and commit suicide.

        46.      Dispatcher Zambra said that, at approximately 2:42 a.m., she did her jail check

manually. The premises phone was not working since the earlier shift. She said that she checked

the female detainee in Cell Number 1 first, and then checked the other cells. She said that when




Plaintiffs’ Original Complaint – Page 21 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 22 of 75




she checked Cell Number 4, she could see John half-kneeling with a white sheet mangled on his

neck and tied to a top grey shelf. Dispatcher Zambra then went to the catwalk hallway to better

see John. She said that she called to him through jail bars, and there was no response. She said

that then, at approximately 2:44 a.m., she called Deputy Melendez and Sheriff Carrillo and asked

that they come to the jail as soon as possible.

        47.      Dispatcher Zambra said that Sheriff Carrillo arrived first and removed John from

the mangled sheet. She said that he then laid John on the bunk and began CPR. Sheriff Carrillo

told Dispatcher Zambra to call out the rescue team. Dispatcher Zambra said that she called out the

rescue team at approximately 2:50 a.m. She said that she received a “911” call at the same time

and sent a deputy to handle that call. Dispatcher Zambra also said that Sheriff Carrillo and Cody

Davis were working on John. Dispatcher Zambra had to go back to dispatch and work on radio

traffic, and she called Jailer Borrego to come to the jail to help her.

        48.      Ranger Torrez wrote in his report:

        Dispatcher Zambra stated she has repeatedly told her supervisor of the lack of staff
        and being short of employees. Dispatcher Zambra stated she has told them to hire
        more people and that some of the employees are working long hours and many days
        due to shortness of employees.

Ranger Torrez wrote nothing more regarding the statement provided by Dispatcher Zambra. Upon

Information and belief, Dispatcher Zambra’s complaint to her supervisor that the jail was short-

staffed, and likely that she was unable to do her job effectively (dealing with phone calls and

attempting to watch inmates) had been communicated to Sheriff Carrillo.             Further, upon

information and belief, neither the County nor Sheriff Carrillo did anything substantive before

John’s death in response to Dispatcher Zambra’s complaints.




Plaintiffs’ Original Complaint – Page 22 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 23 of 75




        F.       Investigations

                 1.       Medical Records and Death Reports

                          a.       EMT Records
        49.      Medical records indicate that EMTs received a call at 2:50 a.m. on July 7, 2019,

regarding an unresponsive male at the Culberson County jail. The male was John. EMTs

dispatched at 2:56 a.m. and arrived at the jail 2:59 a.m. John was not breathing, and he did not

have a pulse. The medical records indicate that Sheriff Carrillo said that John was found hanging

from a noose, made by sheets, tied around his neck. Moreover, medical records indicated, “Patient

appeared unresponsive and unstable.” John died as a result of this suicide attempt.


                          b.       Autopsy Report
        50.      The death certificate listed as cause of death, which was obvious to everyone

involved, suicide through asphyxia due to hanging. The autopsy reached the same conclusion.


                          c.       Custodial Death Report (Filed with Attorney General)
        51.      The Culberson County Sheriff’s Office filed with the Texas Attorney General a

custodial death report regarding John’s death.          The report provided very little additional

information above that already referenced in this complaint regarding John’s death. The report,

completed by Sheriff Carrillo, falsely represented that John did not exhibit any mental health

problems.


                          d.     Inmate Death Report (Filed with Texas Commission on Jail
                          Standards)

        52.      Sheriff Carrillo also completed and filed with the Texas Commission on Jail

Standards an Inmate Death Reporting Form for John’s death. Sheriff Carrillo indicated what he

considered to be certain relevant times in that report, and he was forced to write “camera time” to


Plaintiffs’ Original Complaint – Page 23 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 24 of 75




show times from the jail camera footage versus actual times. The fact that the jail could not even

keep its camera time consistent with, or even close to, actual time was further evidence as to its

deliberate indifference and disregard for the rights of inmates such as John.

        53.      Sheriff Carrillo wrote that Jailer Zambra was the person who found John, deceased.

Sheriff Carrillo indicated that it was “unknown” whether John was under the influence of alcohol

or drugs. He also admitted that John was not on suicide watch. Since no Individual Defendant

conducted a jail intake of John, and asked him medical and mental health questions required by

every known jail standard and the Texas Commission on Jail Standards, Sheriff Carrillo was forced

to write, “Unknown” in response to the question asking that he list any and all known medical

conditions.


                 2.       Texas Rangers

        54.      As indicated above, the Texas Rangers investigated John’s death. The Texas

Rangers do not conduct investigations of custodial deaths to determine whether anyone violated

constitutional rights of the decedent, or has civil liability for such death. Instead, the Texas

Rangers investigate such deaths only to determine whether there is potential criminal liability.

        55.      On July 7, 2019, Ranger Juan Torrez conducted the potential criminal conduct

investigation. He was called to the Culberson County jail at 300 La Caverna, Van Horn, Texas

79855. He arrived at approximately 7:23 a.m. and met with Sheriff Carrillo. Sheriff Carrillo told

him that John was arrested and ultimately found hanging in his cell at approximately 2:45 a.m.

Ranger Torrez viewed the cell in which John committed suicide, and he took a number of

photographs. He also traveled to the Culberson Hospital in Van Horn. He went to Trauma Room

Number 1 and took photos of John. He saw ligature marks on John’s neck and noted in his report

that John’s body was taken to Legacy Mortuary for autopsy at a later time. Ranger Torrez obtained



Plaintiffs’ Original Complaint – Page 24 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 25 of 75




a number of statements, summaries of which he provided in his report. Plaintiffs provide portions

of those summaries in the Witnesses section of this complaint.


                 3.       Texas Commission on Jail Standards

        56.      The Texas Commission on Jail Standards (“TCJS”) conducted an investigation of

John’s death. The TCJS regularly conducts investigations of custodial deaths in Texas county

jails, and it is the state agency charged with enforcing bare minimum jail standards. The TCJS

provided a summary of what it determined after its investigation of John’s death:




Plaintiffs’ Original Complaint – Page 25 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 26 of 75




Plaintiffs’ Original Complaint – Page 26 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 27 of 75




        57.      As indicated the TCJS determined that the Culberson County jail failed to meet

minimum jail standards, and it issued a notice of non-compliance to Culberson County as a result.

The TCJS did not make a rash decision. TCJS Inspector Wendy Wisneski determined that the

TCJS should issue to Culberson County a notice of non-compliance. TCJS Assistant Director

Shannon Herklotz then reviewed the determination and approved it. TCJS Executive Director

Branden Wood agreed and also approved issuance of a notice of non-compliance.




Plaintiffs’ Original Complaint – Page 27 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 28 of 75




Plaintiffs’ Original Complaint – Page 28 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 29 of 75




        58.      The determination was made as a result of a special inspection caused by John’s

suicide. The TCJS notified the Culberson County jail that, unless it cured its noncompliance, it

could result an entry of a remedial order.




Plaintiffs’ Original Complaint – Page 29 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 30 of 75




Plaintiffs’ Original Complaint – Page 30 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 31 of 75




        59.      Culberson County had within its documents, at its jail, a copy of the Screening

Form for Suicide and Medical/Mental/Developmental Impairments. As indicated in this pleading,

the TCJS required that the form be completed in its entirety when any inmate was booked-in to

the County jail. It is extremely important to obtain information from an inmate at the time of

booking, as the jail will then have additional information regarding that inmate (beyond that

learned before arrest through the time of transport to the jail) and thereby be able to determine

whether to house the inmate, and if so, whether continuous observation may be required. That

form is shown below.




Plaintiffs’ Original Complaint – Page 31 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 32 of 75




Plaintiffs’ Original Complaint – Page 32 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 33 of 75




        60.      Individual Defendants failed to complete the form and failed to assure that other

Individual Defendants complete the form. Upon information and belief, this was a customary

practice at the Culberson County jail. In the alternative, this one incident, involving several County

employees at the jail, all of whom were, upon information and belief, aware that the form was not

completed, demonstrates single-incident liability of the County for failure to complete the form.

As a result of Individual Defendants refusing to complete the form, at the time John was brought

to the jail, Individual Defendants did not learn whether John:

        •     had a serious injury or hospitalization in the prior 90 days;

        •     was taking any prescription medication;

        •     had any disability or chronic illness, such as diabetes, and/or hypertension;

        •     had a history of drug or alcohol abuse;

        •     thought he would have withdrawal symptoms from stopping the use of any medications
              or other substances, including alcohol and/or drugs, when he was in jail;

        •     had ever had a traumatic brain injury, concussion, or loss of conciousness;

        •     was thinking of killing or injuring himself that day and, if so, how;

        •     had ever attempted suicide and, if so, when and how;

        •     was feeling hopeless or had nothing to look forward to;

        •     was hearing any noises or voices other people don’t seem to hear;

        •     believed that someone could control his mind or that other people could know his
              thoughts or read his mind.

        •     before arrest, was feeling down, depressed, or had little interest or pleasure in doing
              things;

        •     had nightmares, flashbacks, or repeated thoughts or feelings related to PTSD or
              something terrible from his past;

        •     was extremely worried he would lose his job, position, spouse, significant other, or
              custody of his children due to arrest;


Plaintiffs’ Original Complaint – Page 33 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 34 of 75




        •     had ever received services for emotional or mental health problems;

        •     had been in the hospital for emotion/mental health issues in the prior year;

        •     had received services for emotional or mental health problems and/or been in the
              hospital for emotional or mental health issues in the past year, and if so, whether he
              knew his diagnosis;

        •     was ever told by teachers that he had difficulty learning; and/or

        •     had lost or gained a lot of weight in the last few weeks.

        61.      Clearly, these questions are designed to determine whether John would have self-

harm tendencies and/or intended to commit suicide. Further, as to questions in the first section in

the form, at least some of which John would have answered “Yes,” the form required Individual

Defendants to notify medical or their supervisor immediately. As to the first four questions to be

directed to John in the second section of the form, some of which John would have answered “Yes”

if he were asked, Individual Defendants would have been required to notify their supervisor, a

judge, and the local mental health department immediately. As to questions numbered 1-12 in the

form, at least some of which John would have responded “Yes” if asked, Individual Defendants

would have been required to notify their supervisor and a judge, as well as local mental health

authorities when warranted.

        62.      No Individual Defendant likewise answered the questions on the form as to whether

John appeared to be under the influence of alcohol or drugs. It is common knowledge among

jailers and law enforcement officers that a person who is intoxicated is at a significantly higher

risk of committing suicide in jail than a person who is not intoxicated.

        63.      Notably, the second section of the form contains the questions, “Is the inmate

unable to answer questions? If yes, note why, notify supervisor and place on suicide watch until

form completed.” Sheriff Carrillo indicated in his statement that John was able to answer



Plaintiffs’ Original Complaint – Page 34 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 35 of 75




questions. Thus, there was absolutely no excuse for Sheriff Carrillo, or any other Individual

Defendant, not to complete the form. Regardless, the form was clear in its instruction that a person

was to be placed on suicide watch until the form was completed. Thus, all Individual Defendants

had to operate under the belief that John was suicidal. Further, upon information and belief, all

Individual Defendants knew that John was at a high risk of self-harm as a result of information

they obtained related to his arrest and their knowledge that atypical or no answers to questions

above would indicate that a person was at a high risk for self-harm. Thus, Individual Defendants

had to place John on a suicide watch.

        64.      The only effective suicide watch is continuous monitoring.           It takes only

approximately 5 minutes for a person to die from asphyxiation through use of a ligature. Use of a

ligature is the most common way in which inmates committ suicide, as all Individual Defendants

were aware from hearing news reports and from their education, training, and experience.

        65.      Also, because Individual Defendants chose not to complete the form, they did not

answer the question whether the arresting or transporting officer believed or had received

information that the inmate may be at risk of suicide. Clearly, all Individual Defendants knew that

John was not in his right mind. They knew that he was wandering around town, delusional and

telling people that someone was trying to kill him. He continued with such comments when he

was at the jail. He was clearly unreasonably in fear for his life, and likewise clearly suicidal as a

result of information obtained and referenced in this pleading.

        66.      The last section of the form required Individual Defendants, if there were any “Yes”

answers, to notify their supervior, a judge, and local mental health authorities immediately. Had

Individual Defendants chosen to answer those questions, the anwer would have been “Yes” to at

least one and possibly all four questions. Clearly, John was showing signs of mental illness and/or




Plaintiffs’ Original Complaint – Page 35 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 36 of 75




unusual behavior. He may have been seeing or hearing things that were not there, including

possibly people he thought were attempting to kill him.

        67.      As a result of Individual Defendants refusing to complete the Screening Form for

Suicide and Medical/Mental/Developmental Impairments, John was put into a cell and left alone

for well over an hour, with the means to commit suicide. This violated every known jail standard,

was unreasonable, and showed deliberate indifference.

        68.      The TCJS also had to issue a technical assistance memorandum to Culberson

County as a result of John’s death. Wendy Wisneski, TCJS inspector, wrote that technical

assistance was provided and required:

        Ensure all inmates are properly classified prior to placing them into a single or
        multi-occupancy cell. Classification will be reviewed during your next annual
        inspection. If the practice of placing an inmate in a single or multi-occupancy cell
        prior to being classified is prevalent, a notice of non-compliance will be issued.

        69.      These violations of known and communicated TCJS standards were, in addition to

Individual Defendants’ unreasonableness and deliberate indifference, as a result of policies,

practices, and/or customs of Culberson County. Therefore, Culberson County is liable for all

damages asserted in this pleading as a result of such violations.


        G.       Defendants’ Knowledge and Education

                 1.       Jail Suicides Are a Well-Known, Widespread Problem.

        70.      Defendants knew that prisoners frequently commit suicide through hanging and/or

asphyxiation, using items in their cells to form ligatures. Individual Defendants possessed this

knowledge simply from hearing news media reports over the years, as well as through their

experience, education, and/or training.




Plaintiffs’ Original Complaint – Page 36 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 37 of 75




        71.      Jail suicides, as all Defendants knew before incarcerating the Decedent, are a huge

problem in the United States. Over one thousand people died in local jails in 2016, and suicide

was the leading cause of death. Further, people in county jails are five times more likely than the

general population to have serious mental illness, and two-thirds of such persons have a substance

abuse disorder. Many people experience serious medical and mental health crises after they are

booked into a jail, including psychological distress and shock of confinement. Defendants also

knew when incarcerating the Decedent that most jail suicides occur by hanging/strangulation, with

inmates using objects available to them as ligatures. Inmates commonly use sheets, torn-up

mattresses, clothing (including drawstrings), telephone cords, and trash bags.

        72.      On or about July 9, 2015, the TCJS emailed to every Texas sheriff and every Texas

county jail administrator, including Culberson County Sheriff Carrillo and Culberson County’s

jail administrator, a technical assistance memorandum regarding a number of recent suicides

completed through use of phone cords in jails.




Plaintiffs’ Original Complaint – Page 37 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 38 of 75




Plaintiffs’ Original Complaint – Page 38 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 39 of 75




After Sheriff Carrillo and Culberson County received that technical assistance memorandum, they

were reminded of the fact that prisoners would use anything to form ligatures and commit suicide.

Therefore, they had to act as a result and not place suicidal detainees into cells with items with

which they could form ligatures and kill themselves.

        73.      The TCJS mandates use of the above-referenced Screening Form for Suicide and

Medical/Mental/Developmental Impairments. The screening form was drafted to achieve, as one

of three goals, the creation of an objective suicide risk assessment with clear guidance for front-

line jail personnel as to when to notify their supervisors and/or mental health providers and

magistrates. The TCJS indicates that intake screening “is the first step and is crucial to determine

which inmates require more specialized mental health assessment.” Moreover, “Unless inmates

are identified as potentially needing mental health treatment, they will not receive it.”

        74.      The TCJS also notes that purposes of intake screening are to enable correctional

staff to triage those who may be at significant risk for suicide; identify prisoners who may be in

distress for a mental health disorder/psychosis or complications from recent substance abuse; and

assist with the continuity of care of special-needs alleged offenders. The TCJS requires that an

intake screening form be completed for all prisoners immediately upon admission into a jail

facility. Further, staff should perform additional screenings when they have information that a

prisoner has developed mental illness, or the inmate becomes suicidal, at any point during the

inmate’s incarceration. A jail must maintain any such additional screening forms in a prisoner’s

file.

        75.      Suicides were not a novel occurrence and/or unknown issue to Defendants.

Defendants were well-aware of the significant risk that the Decedent would commit suicide. The

County, in addition to having knowledge of the problem with jail suicides, as evidenced in part by




Plaintiffs’ Original Complaint – Page 39 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 40 of 75




any County policies, practices, and/or customs referenced in this pleading in such regard, was put

on notice well before the Decedent’s incarceration that the County needed to have the appropriate

policies, practices, and/or customs in place to fulfill constitutional obligations to protect inmates.

        76.      Upon information and belief, all Defendants knew that most jail suicides occur

within the first few minutes, hours, or days of incarceration. They possessed this knowledge from

hearing news media reports over the years, as well as through their experience, education, and/or

training. Further, upon information and belief, all Defendants knew that a person who appears to

be psychotic, out of touch with reality, or who views events as being other than those which are

actually true are at a high risk of self-harm. They possessed this knowledge from hearing news

media reports over the years, as well as through their experience, education, and/or training.


                 2.       Fifth Circuit’s Clearly-Established Law: Continuous Observation

        77.      Circuit Judge Goldberg, writing a concurring opinion on behalf of the United States

Court of Appeals for the Fifth Circuit approximately 30 years ago – in 1992 – unambiguously

wrote that the right to continual monitoring of prisoners with suicidal tendencies was clearly

established. In Rhyne vs. Henderson County, 973 F.2d 386 (5th Cir. 1992), the mother of a pre-

trial detainee brought suit for the death of her child. Judge Goldberg warned and put on notice all

policymakers within the jurisdiction of the United States Court of Appeals for the Fifth Circuit

regarding pre-trial detainees in need of mental health care (and specifically those with suicidal

tendencies):

        Fortunately, the policymakers in charge can learn from their mistakes and take the
        necessary additional steps to insure the safety of pretrial detainees in need of mental
        health care. Other municipalities should also take heed of the tragic
        consequences which are likely to ensue in the absence of adequate safety
        measures to deal with detainees displaying suicidal tendencies.




Plaintiffs’ Original Complaint – Page 40 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 41 of 75




        What we learn from the experiences of Henderson County [Texas] is that when
        jailers know a detainee is prone to committing suicide, a policy of observing
        such a detainee on a periodic, rather than on a continuous, basis, will not
        suffice; that vesting discretion in untrained jail personnel to assess the need for, and
        administer, mental health care, will not be responsive to the medical needs of
        mentally ill detainees; and that delegating the task of providing mental health care
        to an agency that is incapable of dispensing it on the weekends will endanger the
        well-being of its emotionally disturbed detainees. We need not remind jailers and
        municipalities that the Constitution works day and night, weekends and
        holidays—it takes no coffee breaks, no winter recess, and no summer vacation.
        So the plaintiff in this case did not prove that Henderson County adopted its policy
        of handling suicidal detainees with deliberate indifference to their medical
        needs. But that does not insulate Henderson County, or any other municipality,
        from liability in future cases. Jailers and municipalities beware! Suicide is a real
        threat in the custodial environment. Showing some concern for those in
        custody, by taking limited steps to protect them, will not pass muster unless
        the strides taken to deal with the risk are calculated to work: Employing only
        “meager measures that [jailers and municipalities] know or should know to be
        ineffectual” amounts to deliberate indifference. To sit idly by now and await
        another, or even the first, fatality, in the face of the Henderson County tragedy,
        would surely amount to deliberate indifference.
Id. at 395-96 (emphasis added).

Defendants were put on notice long ago that anything short of continuous monitoring of suicidal

inmates was insufficient and violated the United States Constitution. The law was clearly

established with specificity, and Defendants were charged with knowledge of it.



        H.       Monell Liability of Culberson County

                 1.       Introduction

        78.      Plaintiffs set forth in this section of the pleading additional facts and allegations

supporting claims against the County pursuant to Monell v. Department of Soc. Svcs., 436 U.S.

658 (1978). It is Plaintiffs’ intent that all facts asserted in this pleading relating to policies,

practices, and/or customs of the County support such Monell claims, and not just facts and

allegations set forth in this section. Such policies, practices, and/or customs alleged in this



Plaintiffs’ Original Complaint – Page 41 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 42 of 75




pleading, individually and/or working together, were moving forces behind and caused the

constitutional violations, and damages and death, referenced herein. These policies, practices,

and/or customs are pled individually, alternatively, and collectively. The County knew, when the

Decedent was arrested and incarcerated, that its personnel, policies, practices, and/or customs were

such that it would not meet its constitutional obligations to provide appropriate care to, and protect,

the Decedent.

        79.      Moreover, Plaintiffs may set forth in this pleading certain policies which one or

more Individual Defendants violated. Plaintiffs set forth such policies not necessarily to show

liability against the County, but rather to show liability against those Individual Defendants. If a

jailer or law enforcement officer violates his or her employer’s policy, such violation can be some

evidence of a constitutional violation.

        80.      The County made decisions about policy and practice which it implemented

through its commissioner’s court, its sheriff, its jail administrator, and/or through such widespread

practice and/or custom that such practice and/or custom became the policy of the County as it

related to its jail. The Fifth Circuit Court of Appeals has made it clear that Plaintiffs need not

allege at the pleading stage the identity of the County’s chief policymaker(s).

        81.      There were several policies, practices, and/or customs of the County which were

moving forces behind, caused, were producing causes of, and/or proximately caused the

Decedent’s suffering and death, and other damages referenced in this pleading. The County made

deliberate decisions, acting in a deliberately indifferent and/or objectively unreasonable manner,

when implementing and/or allowing such policies, practices, and/or customs to exist. Further,

when the County implemented and/or consciously allowed such policies, practices, and/or customs




Plaintiffs’ Original Complaint – Page 42 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 43 of 75




to exist, it knew with certainty that the result would be serious injury, suffering, physical illness,

and/or death.


                 2.       Culberson County Policies, Practices, and Customs

        82.      Plaintiffs list beneath this heading the County’s policies, practices, and/or customs

which Plaintiffs allege, at times upon information and belief, caused, proximately caused, were

producing causes of, and/or were moving forces behind all damages referenced in this pleading,

including the Decedent’s death. Thus, the County is liable for all such damages. Allegations in

this portion of the complaint are made in addition to all other allegations supporting such liability.


                          a.       Policies, Practices, and/or Customs

        83.      The County had in place, at the time of John’s suicide, a mental disability plan. The

County had that plan in place because it was required to do so by the TCJS. However, upon

information and belief, regardless of the written policy, the County’s practice and custom was

either to consistently violate the policy, not enforce the policy, and/or not train its employees to

implement and apply the policy. Further, to the extent Individual Defendants violated that policy,

such violation is some evidence of a constitutional violation.

        84.      The screening portion of the policy contained the requirement that, upon admission,

all inmates would be screened using information including that obtained from completion of the

above-referenced, what the County referred to as, Mental Disabilities/Suicide Intake Screening

Form. The written screening policy also required:

        Should an inmate refuse to answer questions on the screening form, the inmate will
        be asked to sign a waiver. If the inmate refuses to sign, the officer shall make note
        of this refusal and sign and date the form. If the inmate is unable to answer
        questions on the form, the officer shall make note of this inability, sign and date the
        form, place the inmate on suicide watch and notify a supervisor. Should the inmate
        exhibit passive behavior that leads the officer to believe that the inmate may be a



Plaintiffs’ Original Complaint – Page 43 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 44 of 75




           threat to himself or others, the Jail Administrator or the Sheriff, and MHMR Unit
           Coordinator shall be notified for further placement/referral instructions.

Once again, upon information and belief, this written policy was not applied as a result of the

custom and practice of the County jail. All Individual Defendants chose to violate this policy.

John was not placed on a suicide watch when the form was not completed, and MHMR was not

contacted. Instead, the form was ignored, and John was put into a cell, with the physical means to

commit suicide. He was left in that cell for well over an hour, alone, providing far more than

enough time for the suicide to occur. Suicide by asphyxiation takes only approximately 5 minutes

or less.

           85.    The County also had a policy, when an inmate attempted suicide, that at least two

officers enter the cell in which the suicide has been or was being attempted. However, the County

chose to staff its jail with only one person. Thus, to a moral certainty, when the County chose to

require at least two officers enter a cell of a person committing suicide, such as John, but then

chose to staff the jail with only one person, the County knew that it could not and would not

effectively respond to an inmate’s suicide attempt. This was clearly unreasonable and deliberately

indifferent to the constitutional rights of inmates.

           86.    Upon information and belief, the County had a policy, practice, and/or custom of

not requiring arrestees to be taken to a local inpatient mental health facility in accordance with

Chapter 573. There was no action by Individual Defendants regarding taking John to a local in-

patient facility. The Sheriff, the likely chief policymaker for jail operations for the County, was

involved in the decision regarding John.

           87.    Upon information and belief, it was the County’s policy, practice, and/or custom to

not have a mental health professional on duty at the time arrestees were brought to its jail.

Likewise, this policy, practice, and/or custom included the failure to conduct a mental health



Plaintiffs’ Original Complaint – Page 44 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 45 of 75




evaluation at the jail of detainees who had significant mental health issues and/or were suspected

of being suicidal. This failure does not excuse Individual Defendants for failing to have John

transferred to the nearest in-patient mental health facility. Instead, this policy, practice, and/or

custom worked together with other County policies, practices, and/or customs to cause damages

and death referenced in this pleading.

        88.      The County also had a written policy which allowed inmates who were known to

be assaultive, potentially suicidal, mentally ill, or who had demonstrated bizarre behavior be

checked at least once every 30 minutes. However, inmates could be observed on just an “as

needed” basis. Thus, the County allowed unfettered discretion to its employees as to how often to

observe a suicidal inmate.          This showed deliberate indifference to John, as it takes only

approximately 5 minutes or less to commit suicide through use of a ligature. It is unreasonable to

allow unfettered discretion as to how often to make observations of such a person, and certainly

not just once each 30 minutes. A 30-minute observation schedule allows a person to commit

suicide and not be found for approximately 25 minutes after the attempt is successful.

        89.      Upon information and belief, the County’s practice and custom was to fill its jail to

overcrowding, while at the same time failing to staff its jail with a sufficient number of jailers

which would allow it to meet its constitutional obligations. Upon information and belief, at the

time of John’s death, there was in place an Intergovernmental Agreement between Hudspeth

County and Culberson County regarding housing of Culberson County prisoners in the Hudspeth

County jail.      In that agreement, Hudspeth County agreed to “house overflow prisoners”

incarcerated in the Culberson County jail as long as Hudspeth County had available space. Upon

information and belief, those counties reached that agreement due to Culberson County

consistently not having sufficient space to constitutionally house its inmates. This custom and/or




Plaintiffs’ Original Complaint – Page 45 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 46 of 75




practice in conjunction with that of not staffing the jail sufficient to meet its constitutional

obligations, work together to cause the damages and death referenced in this pleading.

        90.      Sheriff Carrillo admitted in March 2020 – far too late for John – that the jail was

short-staffed. He wrote a memo to a person in the County’s Human Resources Department, and

the Culberson County Auditor, regarding there being an agenda item that month for Sheriff Carrillo

to brief County Commissioners regarding new jail positions. He sought to add a Sheriff’s

administrative position and possibly one deputy sheriff. Sheriff Carrillo wrote, “The plan was to

relieve some staffing shortages and minimize the growing compensatory and overtime.”


                          b.       Suicide of Melody Kopera in Culberson County Jail

        91.      Culberson County and Individual Defendants were put on notice – months before

John’s suicide – of the importance of completing the Screening Form for Suicide and

Medical/Mental/Developmental Impairments and having continuous observation of inmates who

are at risk of suicide. Detainee Melody Kopera committed suicide in the Culberson County jail

less than two years before John’s suicide – on November 2, 2017. As with John’s suicide, the TCJS

found that Culberson County violated jail standards.

        92.      Ms. Kopera was arrested merely for the offense of failing to identify herself. She

was apparently just a passenger in a vehicle that was traveling over the speed limit and which had

an expired license plate/registration. The TCJS provided a summary of what it determined after

its investigation of Ms. Kopera’s death.




Plaintiffs’ Original Complaint – Page 46 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 47 of 75




Plaintiffs’ Original Complaint – Page 47 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 48 of 75




Plaintiffs’ Original Complaint – Page 48 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 49 of 75




        93.      As indicated, the TCJS determined that the Culberson County jail failed to meet

minimum jail standards. Sheriff Carrillo was Sheriff of Culberson County at that time. The TCJS

issued a notice of non-compliance to Culberson County as a result, and the TCJS did not make a

rash decision. TCJS Inspector Wendy Wisneski determined that the TCJS should issue to

Culberson County a notice of non-compliance. TCJS Assistant Director Shannon Herklotz then

reviewed the determination and approved it. TCJS Executive Director Branden Wood agreed and

also approved issuance of a notice of non-compliance.




Plaintiffs’ Original Complaint – Page 49 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 50 of 75




Plaintiffs’ Original Complaint – Page 50 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 51 of 75




        94.      The determination was made as a result of a special inspection caused by Ms.

Kopera’s suicide. The TCJS notified the Culberson County jail, on December 5, 2017, that, unless

it cured its noncompliance, it could result in entry of a remedial order.




Plaintiffs’ Original Complaint – Page 51 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 52 of 75




Plaintiffs’ Original Complaint – Page 52 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 53 of 75




        95.      The TCJS also notified Culberson County with specificity as to the standards

Culberson County violated.




        96.      Sheriff Carrillo, as he did regarding John’s death, completed and filed with the

TCJS an Inmate Death Reporting Form. Sheriff Carrillo admitted that Ms. Kopera was “found

suspended,” thus indicating that she used an item as a ligature to commit suicide. She was found

in Single Cell Number 2. Sheriff Carrillo listed the last known contact by a jailer at 2:20 a.m., and

with Ms. Kopera being found suspended 22 minutes later – at 2:42 p.m. He thus knew, from

experience at that point, that even a 22-minute watch would be insufficient for a suicidal inmate.

He knew that only continuous monitoring would be appropriate.

        97.      Sheriff Carrillo also admitted that Ms. Kopera was not on suicide watch. This was

an incredible determination, as the information obtained in the Screening Form for Suicide and

Medical/Mental/Developmental Impairments clearly indicated that she was suicidal. This was the

same form that Sheriff Carrillo and other Individual Defendants chose not to complete for John.



Plaintiffs’ Original Complaint – Page 53 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 54 of 75




They decided to be deliberately indifferent regarding John and his mental health issues. They

simply wanted to go home and not do their jobs due to the late hour that John was arrested. This

was patently unreasonable. Sheriff Carrillo also indicated in the Inmate Death Reporting Form

that the Texas Rangers would investigate Ms. Kopera’s death.

        98.      Sheriff Carrillo responded to a TCJS email indicating, regarding Ms. Kopera, that

there was no Magistrate form, that she was not on suicide watch, and that she was in a single cell.




        99.      The Screening Form for Suicide and Medical/Mental/Developmental Impairments

regarding Ms. Kopera would have caused warning bells to go off in Sheriff Carrillo’s head, as well

as that of anyone else who would have reviewed it and had any experience in law enforcement

and/or jails.



Plaintiffs’ Original Complaint – Page 54 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 55 of 75




(Highlighting in copy obtained from TCJS).




Plaintiffs’ Original Complaint – Page 55 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 56 of 75




        100.     Wendy Wisneski, then the Critical Incident Inspector for the TCJS, wrote to Sheriff

Carrillo regarding what he needed to do to remedy issues in the Culberson County jail regarding

suicide.




Plaintiffs’ Original Complaint – Page 56 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 57 of 75




        101.     Ms. Wisneski warned Sheriff Carrillo:

        Please ensure your personnel receive training on how to properly complete the
        suicide screening instrument, and on proper notification to required entities. Please
        ensure procedures are in place for placing inmates on suicide precautions, if needed,
        and personnel are trained on these procedures. Please provide copies of in-service
        training attendance rosters.

        Additionally, please submit a floor pan identifying locations of any electronic
        monitoring devices and/or cameras serving ‘at risk’ cells. (Please see attached
        Technical Assistance Memo dated November 10, 2017).

        If you require additional assistance regarding electronic monitoring or cameras,
        please contact Jason Ross at (512) 463-8088.

        Please don’t hesitate to contact me if you need additional assistance.

        102.     It appears that Sheriff Carrillo ignored what he was instructed to do by the TCJS.

He simply decided not to follow instruction by the TCJS and thereby put John at risk. Not only

he, but all other Individual Defendants, failed and refused to complete the suicide screening form

for John. They failed to put John on suicide precautions, even though they knew they were

required to do so as a result of the suicide screening form not being completed. Thus, Sheriff

Carrillo, as upon information and belief the chief policymaker for the County or the delegated

chief policymaker for the County regarding jail operations, such delegation being made by the

County Commissioners, chose to implement custom and practice contrary to written policies and

contrary to instruction by the TCJS. That custom and practice was demonstrated by all Individual

Defendants’ actions and inaction related to John’s death. This is particularly troubling, and is

further indicative of John’s death being completely unnecessary, when considering Sheriff

Carrillo’s statement to the Texas Rangers regarding Ms. Kopera’s death:

        My name is Oscar Carrillo; I am a commissioned peace officer and have been the
        Sheriff of Culberson County since 2001.




Plaintiffs’ Original Complaint – Page 57 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 58 of 75




        On 10/28/2017, I was off-duty and currently at my residence in Van Horn. I was
        contacted by my Culberson County Sheriff's Office Dispatch and was advised there
        was a hanging inside the jail. I advised them I was on my way. l arrived quickly
        after and went into the cell block. I went inside the cell and noticed Culberson
        County Sheriff's Office Deputy's Olivia Legarreta and Culberson County Sheriff's
        Office Deputy Pete Melendez were also around. I went inside the cell and observed
        a female inmate hanging by a bed sheet, tied around her neck, connected to a shelf.
        I went and checked the pulse of the female inmate and noticed she was very warm
        and flaccid. The female inmate was not suspended in the air and her feet were
        touching the ground.

        We began to pick her up and the sheet was cut to remove her from the shelf. I untied
        the knot that was around her neck to remove the sheet I then placed the female
        inmate on the bed. Deputy Melendez started chest compressions and Deputy
        Legarreta began giving breaths to the female inmate. Shortly after, EMS arrived
        and took over the scene. EMS placed the female inmate on a gurney, rolled her out
        to the ambulance, and transported her to the Van Horn Hospital. My involvement
        ended at this point.

        103.     Moreover, Deputy Melendez was put on notice that he had to act appropriately with

regard to John. Deputy Melendez worked for Culberson County and learned specifics regarding

Ms. Kopera’s death. He indicated these specifics in his statement provided to the Texas Ranger:

           I am voluntarily submitting this statement to the Texas Ranger Brent Mata. I am
           giving this statement without any threats or promises and on my own free will,
           This statement may be used for whatever purpose deemed necessary. I would
           prefer Texas ranger Brent Mata type this statement as I speak.

           My name is Pete Melendez; I am currently a Deputy Sheriff for the Culberson
           County Sheriff’s Office. I have been a Peace Office since 1999 and have worked
           for the Culberson County Sheriff’s Office since 2010.

           On 10/28/2017, I was currently off duty and with Culberson County Sheriff’s
           Office Deputy Olivia Legarreta at the Culberson County Sheriff’s Office located
           at 210 La Caverna in Van Horn. At 2:42 PM, Culberson Sheriff’s Office Dispatch
           contacted Deputy Legarreta via telephone. Deputy Legarreta was advised a
           female inmate had hung themselves at the Culberson County Jail. Deputy
           Legarreta and I proceeded across the street and went directly inside the jail. We
           went to the second cell on the left and observed Deputy Legarreta look inside the
           tray door opening to see what was happening. I instructed dispatch to contact
           EMS. Culberson County Sheriff Oscar Carrillo arrived and went inside the cell
           with Deputy Legarreta. I observed the female inmate lifeless, eyes closed,
           hanging by her neck from a bed sheet. Sheriff Carrillo went and picked the female
           inmate up to relieve the pressure and requested me to get a knife. I went to the



Plaintiffs’ Original Complaint – Page 58 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 59 of 75




           kitchen to get a knife and handed Sheriff Carrillo the knife. Sheriff Carrillo or
           Deputy Legarreta cut the bed sheet above her neck. Sheriff Carrillo held her body
           and Deputy Legarreta untied the knot from her neck.

           Sheriff Carrillo then placed the female inmate in the bed and I began CPR. I
           performed chest compressions and Deputy Legarreta went to get a mask to the
           the breathing portion. Sheriff Carrillo asked the inmate next to this cell when the
           last time they heard from this inmate. The inmate next door said around fifteen
           minutes. Sheriff Carrillo stated the female inmate was still warm and Deputy
           Legarreta stated she did not have a pulse. EMS arrived around ten minutes later
           and brought a gurney to the cell. We placed the female inmate in the gurney,
           strapped her down, and moved her to the ambulance. EMS began chest
           compressions and oxygen in the ambulance. I then drove the ambulance to Van
           Horn Hospital. EMS and hospital personnel continued to work on her and
           developed a pulse. I have not had any contact with this female inmate since she
           has been incarcerated. I have not heard of any issues involving her by anyone
           else.

        104.     While it was unnecessary, to show liability in this case, for any Individual

Defendant to learn of issues related to Ms. Kopera’s death, such knowledge certainly solidifies the

unreasonableness and deliberate indifference of those Individual Defendants who learned of it.

There was simply no excuse for the way in which John was treated based upon knowledge of all

Defendants.


                          c.    TCJS Records Demonstrating Culberson County Practices and/or
                          Customs

        105.     TCJS reports and documents of inspections of the Culberson County jail further

demonstrate these and other policies, practices, and/or customs which, when applied individually

and/or working together, caused, were proximate causes of, and/or were producing causes of

damages and death asserted in this pleading. Culberson County had a history of failing to meet

minimum jail standards promulgated by the TCJS.




Plaintiffs’ Original Complaint – Page 59 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 60 of 75




            106. On March 8, 2012, the TCJS inspected the Culberson County jail. The TCJS

  determined that deficiencies existed and, if uncured, could result in issuance of a remedial order

  to the County. The TCJS inspector noted the following:

        •        the jail needed to ensure that all future annual fire inspections were completed by a
                 certified fire inspector;

        •        the jail was to ensure that all forms were completed to include signatures and dates
                 where applicable;

        •        the jail was to provide a copy of the classification book for review and to assist
                 jailers’ understanding of assaultive felonies and other questions submitted;

        •        the jail was to ensure that any magistrate notification is made in writing,
                 documenting the time and date notification occurred. Such notifications must be
                 made in writing and sent either by email (printed and kept in medical file), by fax
                 (copy of fax verification kept in medical file), or by written documentation, signed
                 and dated by the Judge and a copy kept in the medical file; and

        •        the inspector determined that there were at least four employed jailers who did not
                 even have a valid temporary jailers license: Melinda Vitella; Jennifer Velez; Cody
                 Davis; and Manuel Urias.

        107.     Thus, the jail was not ensuring that notification to a magistrate judge of an inmate

with mental health issues was actually occurring. Notification to a magistrate judge is an important

safeguard required by Texas law. Further, the jail even had several people working for it without

jailer’s licenses. If a jailer does not possess a license, then he or she likely has not received the

education, training, and/or testing to prove competency. This would undoubtedly result in injury

to and/or death of inmates.

        108.     On April 4, 2016, the TCJS again inspected the Culberson County jail. The

inspector determined that deficiencies existed, and the Culberson County jail was listed as being

non-compliant. The inspector learned that the Culberson County jail was operating, even though

a state fire marshal inspector had determined on March 21, 2016 that the jail did not pass that

annual inspection.       The inspector also noted that several jailers were performing inmate



Plaintiffs’ Original Complaint – Page 60 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 61 of 75




classification duties, even though they did not have documented classification training. Thus,

jailers were making decisions as to where to house inmates within the jail without being trained as

to how to do so. As noted in this pleading, the County was cited once again regarding classification

issues related to John’s death.

          109.   On January 26, 2017, the TCJS conducted another inspection of the Culberson

County jail. Once again, the Culberson County jail failed the inspection. The inspector noted that

deficiencies existed, and the Culberson County jail was once again listed as non-compliant. The

inspector determined that the Jail Adminstrator, Valerie Flores, has been issued a temporary

jailer’s license on January 11, 2016. That license expired one year later – on January 11, 2017.

Amazingly, the jail administrator was working at the jail without any jailer’s license. Thus, upon

information and belief, she had not received either the education and/or training required to be the

jail’s administrator.

          110.    On February 22, 2017, the TCJS once again inspected the Culberson County jail.

The TCJS inspector had to provide technical assistance. The inspector noted that some jailers

were not logging CCQ mental health matches on the intake screening form. A CCQ match is

extreamly important, as it indicates that a person has previously received typically in-patient

mental health treatment. This can be a significant indicator of self-harm tendencies. The inspector

also noted that the jail did not have any jailers or staff who had completed a food handler training

course.

          111.   On December 5 2018, just a few months before John’s death, the TCJS again

inspected the Culberson County jail. The inspector provided the following technical assistance:

          During the review of Suicide Prevention Training, it was determined the
          administration was under the impression that Mental Health Training (4900)
          covered the required suicide prevention training. It was explained to the
          administration 4900 did not cover the required training and they would need to



Plaintiffs’ Original Complaint – Page 61 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 62 of 75




        conduct suicide prevention training with all staff according to their operational
        plans. The administration advised they would conduct the required training
        immediately with jail staff. Follow up Action Required – The administration will
        scan and email this inspector the documented training by December 30, 2018.
        Failure to complete the required training may result in the issuance of a notice of
        non-compliance.
Thus, Culberson County, and Sheriff Carrillo signing on behalf of the County, was once again

reminded of the importance of appropriate suicide prevention training and dealing with suicidal

inmates.

        112.     The policies, practices, and customs referenced in this pleading, which indicate

Culberson County’s unreasonableness and deliberate indifference regarding its jail detainees, were

further evidenced by an inspection occurring after (but unrelated to) John’s death. This inspection

occurred on December 2, 2019. The inspector had to provide techical assistance. The inspector

determined that Jailer Felix Gonzalez did not have the required four-hour course entitled

“Objective jail Classification” as required by minimum jail standards for any staff member who

was assigned to classify inmates. Thus, there was still a lax attitude by Sheriff Carrillo and the

County regarding appropriate training for jailers. More importantly, for purposes of claims in this

complaint, this was evidence of policy, practice, and/or custom which pre-existed John’s

incarceration and death.



III.    Causes of Action


        A.       14th Amendment Due Process Claims Under 42 U.S.C. § 1983: Objective
                 Reasonableness Pursuant to Kingsley v. Hendrickson

        113.     In Kingsley v. Hendrickson, 135 S. Ct. 2466 (2015), a pretrial detainee sued several

jail officers alleging that they violated the 14th Amendment’s Due Process Clause by using

excessive force against him. Id. at 2470. The Court determined the following issue: “whether, to




Plaintiffs’ Original Complaint – Page 62 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 63 of 75




prove an excessive force claim, a pretrial detainee must show that the officers were subjectively

aware that their use of force was unreasonable, or only that the officer’s use of that force was

objectively unreasonable.” Id. (emphasis in original). The Court concluded that the objectively

unreasonable standard was that to be used in excessive force cases, and that an officer’s subjective

awareness was irrelevant. Id. The Court did so, acknowledging and resolving disagreement

among the Circuits. Id. at 2471-72.

        114.     The Court flatly wrote “the defendant’s state of mind is not a matter that a plaintiff

is required to prove.” Id. at 2472. Instead, “courts must use an objective standard.” Id at 2472-

73. “[A] pretrial detainee must show only that the force purposefully or knowingly used against

him was objectively unreasonable.” Id. at 2473. Thus, the Court required no mens rea, no

conscious constitutional violation, and no subjective belief or understanding of offending police

officers, or jailers, for an episodic claim but instead instructed all federal courts to analyze

officers’, or jailers’, conduct on an objective reasonability standard. Since pretrial detainees’ rights

to receive reasonable medical and mental health care, to be protected from harm, and not to be

punished at all, also arise under the 14th Amendment’s Due Process Clause, there is no reason to

apply a different standard when analyzing those rights.

        115.     It appears that this objective reasonableness standard is now the law of the land. In

Alderson v. Concordia Parish Corr. Facility, 848 F.3d 415 (5th Cir. 2017), the Fifth Circuit Court

of Appeals considered appeal of a pretrial detainee case in which the pretrial detainee alleged

failure-to-protect and failure to provide reasonable medical care claims pursuant to 42 U.S.C. §

1983. Id. at 418. The court wrote, “Pretrial detainees are protected by the Due Process Clause of

the Fourteenth Amendment.” Id. at 419 (citation omitted). The Fifth Circuit determined, even

though Kingsley had been decided by the United States Supreme Court, that a plaintiff in such a




Plaintiffs’ Original Complaint – Page 63 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 64 of 75




case still must show subjective deliberate indifference by a defendant in an episodic act or omission

case. Id. at 419-20. A plaintiff must still show that actions of such an individual person acting

under color of state law were “reckless.” Id. at 420 (citation omitted). However, concurring

Circuit Judge Graves dissented to a footnote in which the majority refused to reconsider the

deliberate indifference, subjective standard, in the Fifth Circuit. Id. at 420 and 424-25.1



1
 Circuit Judge Graves wrote: “I write separately because the Supreme Court’s decision in Kingsley
v. Hendrickson, ––– U.S. ––––, 135 S.Ct. 2466, 192 L.Ed.2d 416 (2015), appears to call into
question this court’s holding in Hare v. City of Corinth, 74 F.3d 633 (5th Cir. 1996). In Kingsley,
which was an excessive force case, the Supreme Court indeed said: “Whether that standard might
suffice for liability in the case of an alleged mistreatment of a pretrial detainee need not be decided
here; for the officers do not dispute that they acted purposefully or knowingly with respect to the
force they used against Kingsley.” Kingsley, 135 S.Ct. at 2472. However, that appears to be an
acknowledgment that, even in such a case, there is no established subjective standard as the
majority determined in Hare. Also, the analysis in Kingsley appears to support the conclusion that
an objective standard would apply in a failure-to-protect case. See id. at 2472–2476.

Additionally, the Supreme Court said:

        We acknowledge that our view that an objective standard is appropriate in the
        context of excessive force claims brought by pretrial detainees pursuant to the
        Fourteenth Amendment may raise questions about the use of a subjective standard
        in the context of excessive force claims brought by convicted prisoners. We are
        not confronted with such a claim, however, so we need not address that issue today.

Id. at 2476. This indicates that there are still different standards for pretrial detainees and DOC
inmates, contrary to at least some of the language in Hare, 74 F.3d at 650, and that, if the standards
were to be commingled, it would be toward an objective standard as to both on at least some
claims.

Further, the Ninth Circuit granted en banc rehearing in Castro v. County of Los Angeles, 833 F.3d
1060 (9th Cir. 2016), after a partially dissenting panel judge wrote separately to point out that
Kingsley “calls into question our precedent on the appropriate state-of-mind inquiry in failure-to-
protect claims brought by pretrial detainees.” Castro v. County of Los Angeles, 797 F.3d 654, 677
(9th Cir. 2015). The en banc court concluded that Kingsley applies to failure-to-protect claims and
that an objective standard is appropriate. Castro, 833 F.3d at 1068–1073.

In Estate of Henson v. Wichita County, 795 F.3d 456 (5th Cir. 2014), decided just one month after
Kingsley, this court did not address any application of Kingsley. Likewise, the two subsequent
cases also cited by the majority did not address or distinguish Kingsley. Hyatt v. Thomas, 843 F.3d
172 (5th Cir. 2016), and Zimmerman v. Cutler, 657 Fed.Appx. 340 (5th Cir. 2016). Because I read


Plaintiffs’ Original Complaint – Page 64 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 65 of 75




         116.    The majority opinion gave only three reasons for the court’s determination that the

law should not change in light of Kingsley. First, the panel was bound by the Fifth Circuit’s “rule

of orderliness.” Id. at 420 n.4. Second, the Ninth Circuit was at that time the only circuit to have

extended Kingsley’s objective standard to failure-to-protect claims. Id. Third, the Fifth Circuit

refused to reconsider the law of the Circuit in light of United State Supreme Court precedent,

because it would not have changed the results in Alderson. Id. Even so, the Fifth Circuit noted,

years ago, that the analysis in pretrial detainee provision of medical care cases is the same as that

for pretrial detainee failure-to-protect cases. Hare v. City of Corinth, 74 F.3d 633, 643 (5th Cir.

1996).

         117.    Thus, the trail leads to only one place – an objective unreasonableness standard,

with no regard for officers’ or jailers’ subjective belief or understanding, should apply in this case

and all pretrial detainee cases arising under the Due Process Clause of the 14th Amendment. The

Fifth Circuit, and the district court in this case, should reassess Fifth Circuit law in light of Kingsley

and apply an objective unreasonableness standard to constitutional claims in this case. The court

should not apply a subjective state of mind and/or deliberate indifference standard. The Supreme

Court discarded the idea that a pretrial detainee should have such a burden.


         B.      Remedies for Violation of Constitutional Rights

         118.    The United States Court of Appeals for the Fifth Circuit has held that using a State’s

wrongful death and survival statutes creates an effective remedy for civil rights claims pursuant to

42 U.S.C. § 1983. Therefore, Ms. Edmiston individually, and Ms. Holman on behalf of Ms.

Edmiston and Claimant Heirs, seek for causes of action asserted in this complaint, all remedies



Kingsley as the Ninth Circuit did and would revisit the deliberate indifference standard, I write
separately.”


Plaintiffs’ Original Complaint – Page 65 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 66 of 75




and damages available pursuant to Texas and federal law, including but not necessarily limited to

the Texas wrongful death statute (Tex. Civ. Prac. & Rem. Code § 71.002 et seq.), the Texas

survival statute (Tex. Civ. Prac. & Rem. Code § 71.021), the Texas Constitution, common law,

and all related and/or supporting case law. If the Decedent had lived, the Decedent would have

been entitled to bring a 42 U.S.C. § 1983 action for violation of the United States Constitution and

obtain remedies and damages provided by Texas and federal law. Plaintiffs incorporate this

remedies section into all sections in this complaint asserting cause(s) of action.

        C.       Cause of Action Against Individual Defendants Under 42 U.S.C. § 1983 for
                 Violation of Constitutional Rights

        119.     In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all allegations in the “Factual Allegations” section above) to

the extent they are not inconsistent with the cause of action pled here, Individual Defendants are

liable to Plaintiffs and Claimant Heirs, pursuant to 42 U.S.C. § 1983, for violating the Decedent’s

rights to reasonable medical/mental health care, to be protected, and/or not to be punished. These

rights are guaranteed by at least the 8th and/or 14th Amendments to the United States Constitution.

Pre-trial detainees are entitled not to be punished at all since they have not been convicted of any

alleged crime resulting in their incarceration.

        120.     Individual Defendants acted and failed to act under color of state law at all times

referenced in this pleading. They wholly or substantially ignored the Decedent's obvious serious

mental health issues and/or self-harm tendencies, and they were deliberately indifferent to and

acted in an objectively unreasonable manner regarding those tendencies. They failed to protect

the Decedent, and their actions and/or inaction referenced in this pleading resulted in

unconstitutional punishment of the Decedent. Individual Defendants were aware of the excessive



Plaintiffs’ Original Complaint – Page 66 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 67 of 75




risk to the Decedent’s health and safety and were aware of facts from which an inference could be

drawn of serious harm, suffering, and death. Moreover, they in fact drew that inference. Individual

Defendants violated clearly–established constitutional rights, and their conduct was objectively

unreasonable in light of clearly–established law at the time of the relevant incidents.

        121.     All Individual Defendants are also liable pursuant to the theory of bystander

liability. Bystander liability applies when the bystander jailer/officer (1) knows that a fellow

jailer/officer is violating a person’s constitutional rights; (2) has a reasonable opportunity to

prevent the harm; and (3) chooses not to act. As demonstrated through facts asserted in this

pleading, all Individual Defendants’ actions and inaction meet all three elements. They are

therefore also liable to Plaintiffs and Claimant Heirs pursuant to this theory.

        122.     In the alternative, Individual Defendants’ deliberate indifference, conscious

disregard, state of mind, subjective belief, subjective awareness, and/or mental culpability are

irrelevant to determination of constitutional violations set forth in this section of this pleading.

The United States Supreme Court, in Kingsley v. Hendrickson, 135 S. Ct. 2466 (2015), determined

the state of mind necessary, if any, for officers/jailers sued in a case alleging excessive force

against a pretrial detainee in violation of the 14th Amendment’s Due Process Clause. Id at 2470-

71. Some constitutional rights set forth in this section of the pleading, and constitutional rights

affording pretrial detainees protection against excessive force, flow from the 14th Amendment’s

Due Process Clause. Id. Since such constitutional protections flow from the same clause, analysis

of what is necessary to prove such constitutional violations is identical.




Plaintiffs’ Original Complaint – Page 67 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 68 of 75




        123.     Individual Defendants are not entitled to qualified immunity.2 Their denial of

reasonable medical/mental health care, and other actions and/or inaction set forth in this pleading,

caused, proximately caused, and/or were producing causes of the Decedent’s suffering and death

and other damages mentioned and/or referenced in this pleading, including but not limited to those

suffered by Plaintiffs and Claimant Heirs.



2
    The defense of qualified immunity is, and should be held to be, a legally impermissible defense.
In the alternative, it should be held to be a legally impermissible defense except as applied to state
actors protected by immunity in 1871 when 42 U.S.C. § 1983 was enacted. Congress makes laws.
Courts do not. However, the qualified immunity defense was invented by judges. When judges
make law, they violate the separation of powers doctrine, and the Privileges and Immunities Clause
of the United States Constitution. Plaintiffs respectfully make a good faith argument for the
modification of existing law, such that the court–created doctrine of qualified immunity be
abrogated or limited.
    Individual Defendants cannot show that they are entitled to qualified immunity. This should
be Individual Defendants’ burden, if they choose to assert the alleged defense. Qualified
immunity, as applied to persons not immunized under common or statutory law in 1871, is
untethered to any cognizable legal mandate and is flatly in derogation of the plain meaning and
language of Section 1983. See Ziglar v. Abassi, 137 S. Ct. 1843, 1870-72 (2017) (Thomas, J.,
concurring). Qualified immunity should have never been instituted as a defense, without any
statutory, constitutional, or long-held common law foundation, and it is unworkable, unreasonable,
and places too high a burden on Plaintiffs who suffer violation of their constitutional rights. Joanna
C. Schwartz, The Case Against Qualified Immunity, 93 Notre Dame L. Rev. 1797 (2018)
(observing that qualified immunity has no basis in the common law, does not achieve intended
policy goals, can render the Constitution “hollow,” and cannot be justified as protection for
governmental budgets); and William Baude, Is Qualified Immunity Unlawful?, 106 Calif. L. Rev.
45, 82 (2018) (noting that, as of the time of the article, the United States Supreme Court decided
30 qualified immunity cases since 1982 and found that defendants violated clearly established law
in only 2 such cases). Justices including Justice Thomas, Justice Breyer, Justice Kennedy, and
Justice Sotomayor have criticized qualified immunity. Schwartz, supra at 1798–99. See also Cole
v. Carson, _ F.3d _, 2019 WL 3928715, at * 19-21, & nn. 1, 10 (5th Cir. Aug. 21, 2019) (en banc)
(Willett, J., Dissenting). Additionally, qualified immunity violates the separation of powers
doctrine of the Constitution. See generally Katherine Mims Crocker, Qualified Immunity and
Constitutional Structure, 117 Mich. L. Rev. 1405 (2019) (available at
https://repository.law.umich.edu/mlr/vol117/iss7/3). Plaintiffs include allegations in this footnote
to assure that, if legally necessary, the qualified immunity abrogation or limitation issue has been
preserved.



Plaintiffs’ Original Complaint – Page 68 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 69 of 75




        124.     Therefore, the Decedent’s estate and/or his heirs at law (Claimant Heirs) suffered

the following damages, for which they seek compensation from Individual Defendants:

        •    the Decedent’s conscious physical pain, suffering, and mental anguish;

        •    the Decedent’s medical expenses;

        •    the Decedent’s funeral expenses; and

        •    exemplary/punitive damages.

        125.     Plaintiffs also seek and are entitled to all remedies and damages available to

Shannon Edmiston, Lisa Williams a/k/a Lis Schubert, E.S., J.S. #1, and J.S. #2, individually, for

42 U.S.C. § 1983 claims for constitutional violations. Shannon Edmiston seeks such damages for

the wrongful death of her son, Lisa Williams a/k/a Lisa Schubert seeks such damages for the

wrongful death of her spouse, E.S. seeks such damages for the wrongful death of her father, J.S.

#1 seeks such damages for the wrongful death of his father, and J.S. #2 seeks such damages for

the wrongful death of her father. Those damages were caused and/or proximately caused by

Individual Defendants. Their actions caused, were proximate causes of, and/or were producing

causes of the following damages suffered by Ms. Edmiston and/or Claimant Heirs, for which they

are entitled to compensation for:


        •    loss of services that Ms. Edmiston and/or Lisa Williams a/k/a Lisa Schubert would
             have received from John;

        •    expenses for John’s funeral;

        •    past mental anguish and emotional distress suffered by Ms. Edmiston, Lisa Williams
             a/k/a Lisa Schubert, E.S., J.S. #1 and J.S. #2 resulting from and caused by John’s death;

        •    future mental anguish and emotional distress suffered by Ms. Edmiston, Lisa Williams
             a/k/a Lisa Schubert, E.S., J.S. #1 and J.S. #2 resulting from and caused by John’s death;

        •    loss of companionship and/or society that Ms. Edmiston, Lisa Williams a/k/a Lisa
             Schubert, E.S., J.S. #1 and J.S. #2 would have received from John;



Plaintiffs’ Original Complaint – Page 69 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 70 of 75




        •    loss of consortium that Lisa Williams a/k/a Lisa Schubert would have received from
             John; and

        •    exemplary/punitive damages.

Exemplary/punitive damages are appropriate in this case to deter and punish clear and unabashed

violation of the Decedent’s constitutional rights. Individual Defendants’ actions and inaction

showed a reckless or callous disregard of, or indifference to, the Decedent’s rights and safety.

Moreover, Ms. Edmiston, individually, and Ms. Holman, on behalf of Ms. Edmiston and Claimant

Heirs, seek reasonable and necessary attorneys’ fees available pursuant to 42 U.S.C. §§ 1983 and

1988.

        D.       Cause of Action Against Culberson County Under 42 U.S.C. § 1983 for Violation
                 of Constitutional Rights

        126.     In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all allegations in the “Factual Allegations” section above) to

the extent they are not inconsistent with the cause of action pled here, Defendant Culberson County

is liable to Plaintiffs and Claimant Heirs, pursuant to 42 U.S.C. § 1983, for violating the Decedent's

rights to reasonable medical/mental health care, to be protected, and/or not to be punished. These

rights are guaranteed by at least the 8th and/or 14th Amendments to the United States Constitution.

Pretrial detainees are entitled to be protected and not to be punished at all, since they have not been

convicted of any alleged crime resulting in their incarceration.

        127.     The County acted or failed to act, through natural persons including Individual

Defendants, under color of state law at all relevant times. The County’s policies, practices, and/or

customs were moving forces behind and caused, were producing causes of, and/or were proximate




Plaintiffs’ Original Complaint – Page 70 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 71 of 75




causes of the Decedent’s suffering, damages, and death, and all damages suffered by Ms. Edmiston

and Claimant Heirs.

        128.     The Fifth Circuit Court of Appeals has made it clear that Plaintiffs need not allege

the appropriate chief policymaker at the pleading stage. Nevertheless, out of an abundance of

caution, the sheriff of the County was the County’s relevant chief policymaker over matters at

issue in this case. Moreover, in addition, and in the alternative, the County’s jail administrator

was the relevant chief policymaker over matters at issue in this case. Finally, in addition, and in

the alternative, the County’s commissioners’ court was the relevant chief policymaker.

        129.     The County was deliberately indifferent regarding policies, practices, and/or

customs developed and/or used with regard to issues addressed by allegations set forth above. It

also acted in an objectively unreasonable manner. Policies, practices, and/or customs referenced

above were moving forces behind and caused violation of the Decedent’s rights and showed

deliberate indifference to the known or obvious consequences that constitutional violations would

occur. The County’s relevant policies, practices, and/or customs, whether written or not, were also

objectively unreasonable as applied to the Decedent. Therefore, the Decedent’s estate and/or his

heirs at law (Claimant Heirs) suffered the following damages, for which they seek recovery from

the County:

        •    The Decedent’s conscious physical pain, suffering, and mental anguish;

        •    The Decedent’s medical expenses; and

        •    The Decedent’s funeral expenses.

        130.     Plaintiffs also seek and/or are entitled to all remedies and damages available to

Shannon Edmiston, Lisa Williams a/k/a Lisa Schubert, E.S., J.S. #1, and J.S. #2, individually, for

42 U.S.C. § 1983 claims for constitutional violations. The County’s policies, practices, and/or




Plaintiffs’ Original Complaint – Page 71 of 75
            Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 72 of 75




customs caused, were proximate and/or producing causes of, and/or were moving forces behind

and caused the following damages suffered by Ms. Edmiston and Claimant Heirs:

        •    loss of services that Ms. Edmiston and/or Lisa Williams a/k/a Lisa Schubert would
             have received from John;

        •    expenses for John’s funeral;

        •    past mental anguish and emotional distress suffered by Ms. Edmiston, Lisa Williams
             a/k/a Lisa Schubert, E.S., J.S. #1 and J.S. #2 resulting from and caused by John’s death;

        •    future mental anguish and emotional distress suffered by Ms. Edmiston, Lisa Williams
             a/k/a Lisa Schubert, E.S., J.S. #1 and J.S. #2 resulting from and caused by John’s death;

        •    loss of companionship and/or society that Ms. Edmiston, Lisa Williams a/k/a Lisa
             Schubert, E.S., J.S. #1 and J.S. #2 would have received from John; and

        •    loss of consortium that Lisa Williams a/k/a Lisa Schubert would have received from
             John.

Moreover, Plaintiffs and Claimant Heirs seek reasonable and necessary attorneys’ fees available

pursuant to 42 U.S.C. §§ 1983 and 1988.


IV.     Concluding Allegations and Prayer

        A.       Conditions Precedent

        131.     All conditions precedent to assertion of all claims herein have occurred.


        B.       Use of Documents at Trial or Pretrial Proceedings

        132.     Plaintiffs and Claimant Heirs intend to use at one or more pretrial proceedings

and/or at trial all documents produced by Defendants in this case in response to written discovery

requests, with initial disclosures (and any supplements or amendments to same), and in response

to Public Information Act request(s).




Plaintiffs’ Original Complaint – Page 72 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 73 of 75




        C.       Jury Demand

        133.     Plaintiffs and Claimant Heirs demand a jury trial on all issues which may be tried

to a jury.


        D.       Prayer

        134.     For these reasons, Plaintiffs ask that Defendants be cited to appear and answer, and

that Plaintiffs and Claimant Heirs have judgment for damages within the jurisdictional limits of

the court and against all Defendants, jointly and severally, as legally available and applicable, for

all damages referenced above and below in this pleading:

        a)       actual damages of and for Ms. Edmiston, individually, and Ms. Holman, as

                 administrator of the referenced estate, and for Claimant Heirs, including but not

                 necessarily limited to:

                 •    John’s conscious physical pain, suffering, and mental anguish;

                 •    John’s medical expenses;

                 •    expenses for John’s funeral;

                 •    loss of services that Ms. Edmiston and/or Lisa Williams a/k/a Lisa Schubert
                      would have received from John;

                 •    past mental anguish and emotional distress suffered by Ms. Edmiston, Lisa
                      Williams a/k/a Lisa Schubert, E.S., J.S. #1 and J.S. #2 resulting from and caused
                      by John’s death;

                 •    future mental anguish and emotional distress suffered by Ms. Edmiston, Lisa
                      Williams a/k/a Lisa Schubert, E.S., J.S. #1 and J.S. #2 resulting from and caused
                      by John’s death;

                 •    loss of companionship and/or society that Ms. Edmiston, Lisa Williams a/k/a
                      Lisa Schubert, E.S., J.S. #1 and J.S. #2 would have received from John; and

                 •    loss of consortium that Lisa Williams a/k/a Lisa Schubert would have received
                      from John;




Plaintiffs’ Original Complaint – Page 73 of 75
             Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 74 of 75




        b)       exemplary/punitive damages for Plaintiffs and Claimant Heirs, from Individual

                 Defendants;

        c)       reasonable and necessary attorneys’ fees for Plaintiffs and Claimant Heirs, through

                 trial and any appeals and other appellate proceedings, pursuant to 42 U.S.C. §§

                 1983 and 1988;

        d)       court costs and all other recoverable costs;

        e)       prejudgment and postjudgment interest at the highest allowable rates; and

        f)       all other relief, legal and equitable, general and special, to which Plaintiffs and

                 Claimant Heirs are entitled.




Plaintiffs’ Original Complaint – Page 74 of 75
           Case 3:21-cv-00132-KC Document 1 Filed 06/08/21 Page 75 of 75




                                                 Respectfully submitted:


                                                 Law Offices of Dean Malone, P.C.


                                                      /s/ T. Dean Malone
                                                    T. Dean Malone

                                                 T. Dean Malone
                                                 Attorney-in-charge
                                                 dean@deanmalone.com
                                                 Texas State Bar No. 24003265
                                                 Law Offices of Dean Malone, P.C.
                                                 900 Jackson Street, Suite 730
                                                 Dallas, Texas 75202
                                                 Telephone: (214) 670-9989
                                                 Telefax:      (214) 670-9904

                                                 Of Counsel:

                                                 Michael T. O'Connor
                                                 Texas State Bar No. 24032922
                                                 michael.oconnor@deanmalone.com
                                                 Kristen Leigh Homyk
                                                 Texas State Bar No. 24032433
                                                 kristen.homyk@deanmalone.com
                                                 Law Offices of Dean Malone, P.C.
                                                 900 Jackson Street, Suite 730
                                                 Dallas, Texas 75202
                                                 Telephone:     (214) 670-9989
                                                 Telefax:       (214) 670-9904

                                                 Attorneys for Plaintiff




Plaintiffs’ Original Complaint – Page 75 of 75
